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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

VIVIAN PATZ, ET AL.                                                  CIVIL ACTION
     Plaintiffs
                                                                     NO. 17-3465
VERSUS
                                                                     SEC. E (MORGAN)
SUREWAY SUPERMARKET, ET AL.
    Defendants                                                       DIV. 1 (VAN MEERVELD)

                    PARTIES’ PROPOSED JOINT JURY INSTRUCTIONS

         Plaintiffs, Vivian Patz and Michael Patz, and Defendants, Sureway Supermarket, SHH

Properties, and Shelly Jambon, respectfully submit the following proposed joint jury instructions,

with alternate instructions where the parties have not reached agreement, pursuant to the Court’s

pre-trial notice (R. Doc. 138 at 8). 1

                                   GENERAL INSTRUCTIONS

JOINT JURY INSTRUCTION NO. 1
                                            EVIDENCE

       The evidence you are to consider consists of the testimony of the witnesses, the documents
and other exhibits admitted into evidence, and any fair inferences and reasonable conclusions you
can draw from the facts and circumstances that have been proven.

       Generally speaking, there are two types of evidence. One is direct evidence, such as
testimony of an eyewitness. The other is indirect or circumstantial evidence. Circumstantial
evidence is evidence that proves a fact from which you can logically conclude another fact exists.
As a general rule, the law makes no distinction between direct and circumstantial evidence, but
simply requires that you find the facts from a preponderance of all the evidence, both direct and
circumstantial.

Authority: Fifth Circuit Pattern Jury Instruction 2014 3.3.


JOINT JURY INSTRUCTION NO. 2

                                    STIPULATIONS OF FACT

1
    The Parties continue to work toward agreement on certain instructions.
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        A “stipulation” is an agreement. When there is no dispute about certain facts, the attorneys
may agree or “stipulate” to those facts. You must accept a stipulated fact as evidence and treat that
fact as having been proven here in court.

Authority: Fifth Circuit Pattern Jury Instruction 2014 2.3.


PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 3
             BURDEN OF PROOF: PREPONDERANCE OF THE EVIDENCE
        Plaintiffs Vivian and Michael Patz have the burden of proving their case by a
preponderance of the evidence. To establish by a preponderance of the evidence means to prove
something is more likely so than not so. If you find that Plaintiff Vivian and Michael Patz have
failed to prove any element of their claim by a preponderance of the evidence, then they may not
recover on that claim.

Authority: Fifth Circuit Pattern Jury Instruction 2014 3.2.


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #3

       Plaintiffs propose this instruction because Defendants’ proposed instruction (infra)
contains language that is contrary to the law and misleading. Specifically:

       Opposed Language: “The ultimate burden of persuading you that the employer's actions
were intentionally discriminatory remains at all times with the plaintiff.”

         Plaintiffs’ proposed language is the Fifth Circuit Pattern Jury Instruction 3.2. This
instruction does not contain any other language regarding the burden of proof. Generally, the
burden of proof in a civil trial is preponderance of the evidence. Plaintiffs have included case-
specific instructions in order to more fully describe what Plaintiffs must prove in order to succeed
under each claim. Plaintiffs find that this is much clearer than only have one burden of proof that
fails to include preponderance language and only addresses the discrimination claim.

DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 3

                                      BURDEN OF PROOF

       The ultimate burden of persuading you that the employer's actions were intentionally
discriminatory remains at all times with the plaintiff.

Authority: Texas Dept. of Community Affairs v. Burdine, 450 U.S. 248 (1981).




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JOINT JURY INSTRUCTION NO. 4

                           NO INFERENCE FROM FILING SUIT

        The fact that a person brought a lawsuit and is in court seeking damages creates no
inference that the person is entitled to a judgment. Anyone may make a claim and file a lawsuit.
The act of making a claim in a lawsuit, by itself, does not in any way tend to establish that claim
and is not evidence.

Authority: Fifth Circuit Pattern Jury Instruction 2014 3.6


JOINT JURY INSTRUCTION NO. 5

                         BIAS – CORPORATE PARTY INVOLVED

        Do not let bias, prejudice or sympathy play any part in your deliberations. A corporation
and all other persons are equal before the law and must be treated as equals in a court of justice.

Authority: Fifth Circuit Pattern Jury Instruction 2014 2.16


JOINT JURY INSTRUCTION NO. 6

                                          WITNESSES

        You alone are to determine the questions of credibility or truthfulness of the witnesses. In
weighing the testimony of the witnesses, you may consider the witness’s manner and demeanor
on the witness stand, any feelings or interest in the case, or any prejudice or bias about the case,
that he or she may have, and the consistency or inconsistency of his or her testimony considered
in the light of the circumstances. Has the witness been contradicted by other credible evidence?
Has he or she made statements at other times and places contrary to those made here on the witness
stand? You must give the testimony of each witness the credibility that you think it deserves.

         Even though a witness may be a party to the action and therefore interested in its outcome,
the testimony may be accepted if it is not contradicted by direct evidence or by any inference that
may be drawn from the evidence, if you believe the testimony.

        You are not to decide this case by counting the number of witnesses who have testified on
the opposing sides. Witness testimony is weighed; witnesses are not counted. The test is not the
relative number of witnesses, but the relative convincing force of the evidence. The testimony of
a single witness is sufficient to prove any fact, even if a greater number of witnesses testified to
the contrary, if after considering all of the other evidence, you believe that witness.

Authority: Fifth Circuit Pattern Jury Instruction 2014 3.4.


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JOINT JURY INSTRUCTION NO. 7

                  IMPEACHMENT BY INCONSISTENT STATEMENTS

       In determining the weight to give to the testimony of a witness, consider whether there was
evidence that at some other time the witness said or did something, or failed to say or do something,
that was different from the testimony given at the trial.

        A simple mistake by a witness does not necessarily mean that the witness did not tell the
truth as he or she remembers it. People may forget some things or remember other things
inaccurately. If a witness made a misstatement, consider whether that misstatement was an
intentional falsehood or simply an innocent mistake. The significance of that may depend on
whether it has to do with an important fact or with only an unimportant detail.

Authority: Fifth Circuit Pattern Jury Instruction 2014 2.11.




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                              CASE-SPECIFIC INSTRUCTIONS

PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 8

                            PLAINTIFFS’ CLAIMS GENERALLY

        Plaintiffs Vivian and Michael Patz were both employed by Walter H. Maples, Inc. (doing
business as Sureway Supermarket) in Grand Isle, Louisiana, and lived together in an apartment
owned by SHH Properties. Sureway Supermarket and SHH Properties are owned by Defendant
Shelly Jambon. In this case, Plaintiffs Vivian and Michael Patz have brought claims relating to the
termination of Vivian’s employment as a cashier and stocker at Sureway Supermarket and their
subsequent eviction from their apartment.

        Vivian Patz brings several claims against Sureway Supermarket, including pregnancy
discrimination in violation of Title VII of the Civil Rights Act and the Pregnancy Discrimination
Act, disability discrimination in violation of the Americans with Disabilities Act, and pregnancy
discrimination in violation of the Louisiana Pregnancy Discrimination Act. Plaintiffs Vivian and
Michael Patz also allege claims against all Defendants, Sureway Supermarket, SHH Properties,
and Shelly Jambon, for violations of the Fair Housing Act for discrimination based on their familial
status—Vivian’s pregnancy. Vivian and Michael Patz also allege state law claims against Sureway
Supermarket and SHH Properties including breach of contract, trespass, and violations of the
Louisiana Unfair Trade Practices Act.

        First, Plaintiff Vivian Patz alleges that Defendant Sureway Supermarket violated her rights
under Title VII of the Civil Rights Act, as amended by the Pregnancy Discrimination Act, by
taking two distinct actions: (1) telling her to go home before her shift ended to get a doctor’s note
because she was pregnant; and (2) firing her from her job at Sureway Supermarket after she told
management that she was pregnant and could not lift over 10 pounds. Title VII and the Pregnancy
Discrimination Act prohibit employers from discriminating an employee on the basis of sex, which
includes discrimination based on the employee’s pregnancy and related medical conditions.

        Second, Plaintiff Vivian Patz alleges that Defendant Sureway Supermarket violated her
rights under the Americans with Disabilities Act by firing her because she was unable to lift 10
pounds and not attempting to accommodate her. The Americans with Disabilities Act mandates
that employers reasonably accommodate employees with disabilities, including temporary
disabilities like a high-risk pregnancy, or employees who are regarded as having a disability.

        Third, Plaintiff Vivian Patz alleges that Defendant Sureway Supermarket violated her
rights under the Louisiana Pregnancy Discrimination Act by firing her after she told management
that she was pregnant and could not lift over 10 pounds. Like Title VII of the Civil Rights Act, the
Louisiana Pregnancy Discrimination Act prohibits employers from discriminating an employee
because of the employee’s pregnancy.

      Fourth, Plaintiffs Vivian and Michael Patz allege that all Defendants violated the Fair
Housing Act by denying them housing because Vivian became pregnant. The Fair Housing Act


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prohibits landlords and homeowners from denying housing to people because of their familial
status or because someone is pregnant.

       Fifth, Plaintiffs Vivian and Michael Patz allege that they leased their apartment from
Defendants Sureway Supermarket and SHH Properties, and once Defendants found out that Vivian
was pregnant, they illegally evicted Plaintiffs from the apartment and took the property back.
Under Louisiana law, leases must be terminated according to specific rules, and failing to properly
terminate a lease is a breach of the lease contract.

       Sixth, Plaintiffs Vivian and Michael Patz allege that they leased their apartment from
Defendants Sureway Supermarket and SHH Properties, and once Defendants found out that Vivian
was pregnant, they illegally evicted Plaintiffs from the apartment and took the property back.
Under Louisiana law, leases must be terminated according to specific rules, and failing to properly
terminate a lease is an illegal trespass of the property.

        Seventh, Plaintiffs Vivian and Michael Patz allege claims against all Defendants for
violation of Louisiana Unfair Trade Practices Act (“LUTPA”) when they fired Vivian, refused to
accommodate her pregnancy-related disability, illegally evicted her and Michael from their
apartment, threatened to call law enforcement, and barred them from Sureway Supermarket, the
only grocery store on Grand Isle. Plaintiffs also allege that Defendants violated LUTPA when they
lead her to believe that she could keep her job if she obtained a doctor’s note. LUTPA prohibits
unfair methods of competition and unfair or deceptive acts or practices in the conduct of any trade
or commerce. Courts determine whether a practice is unfair on a case-by-case basis when the
practice offends established public policy and is immoral, unethical, oppressive or unscrupulous.

        Defendants Sureway Supermarket, SHH Properties, and Shelly Jambon deny all of
Plaintiffs’ claims. Defendants contend that Plaintiff Vivian Patz was not terminated because of her
pregnancy but rather because she failed to timely provide a doctor’s note. Defendants contend that
Vivian and Michael Patz were not evicted from their apartment but rather voluntarily vacated the
premises.


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #8

        Plaintiffs’ counsel provided their proposed instructions on Monday, January 14th and met
with Defendants’ counsel on Wednesday, January 16th, but did not receive comments on this
jury instruction or an alternate instruction in time for consideration here.




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 9

              TITLE VII AND PREGNANCY DISCRIMINATION ACT AND
                 LOUISIANA PREGNANCY DISCRIMINATION ACT

        Plaintiff Vivian Patz claims that:

        1. She would not have been discharged but for her pregnancy or related medical condition;

        2. Defendant Sureway Supermarket’s firing of Plaintiff Vivian Patz was motivated by her
           pregnancy or related medical condition.

        3. She was “limited” or “segregated” because of her pregnancy when she was sent home
           to get a doctor’s note; and

        4. Defendant Sureway Supermarket failed to accommodate Plaintiff Vivian Patz’s
           pregnancy or related medical condition.

       Any one of these four claims is a violation of Title VII and the Pregnancy Discrimination
Act as well as the Louisiana Pregnancy Discrimination Act.

        The employer, Defendant Sureway Supermarket, denies Plaintiff’s claims, and contends
that Plaintiff Vivian Patz was fired because she failed to bring in a doctor’s note.

      It is unlawful for an employer to discriminate against an employee because of the
employee's pregnancy or related medical condition. An employer may, however, terminate an
employee for other reasons, good or bad, fair or unfair.

        To prove unlawful discrimination, Plaintiff Vivian Patz must prove by a preponderance of
the evidence that:

   1. Defendant Sureway Supermarket would not have fired Plaintiff Vivian Patz in the absence
      of – in other words, but for – her pregnancy or related medical condition.

        Plaintiff Vivian Patz does not have to prove that unlawful discrimination was the only
        reason Defendant Sureway Supermarket fired her. But Plaintiff Vivian Patz must prove
        that Defendant Sureway Supermarket’s decision to fire her would not have occurred in the
        absence of such discrimination.

   OR

   1. Defendant Sureway Supermarket’s firing of Plaintiff Vivian Patz was motivated by her
      pregnancy or related medical condition.




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        Plaintiff Vivian Patz does not have to prove that unlawful discrimination was the only
        reason Defendant Sureway Supermarket fired her, but she must show that her pregnancy
        was a motivating factor. See Jury Instruction No. ____ for instructions on what is a
        motivating factor.

   OR

   1. Defendant Sureway Supermarket “limited” or “segregated” Plaintiff Vivian Patz; and

   2. Defendant Sureway Supermarket limited or segregated Plaintiff Vivian Patz because of
      her pregnancy;

   OR

   1. Plaintiff Vivian Patz was qualified to do the job of a cashier and stocker and asked for a
      reasonable accommodation. See Jury Instruction No. ____ a definition of reasonable
      accommodation;

   2. Reasonable accommodations were available to help Plaintiff Vivian Patz keep working;
      and

   3. Defendant Sureway Supermarket failed to accommodate Plaintiff Vivian                  Patz’s
      pregnancy.

       After Plaintiff Vivian Patz has made her prima facie case, in any of the four ways set forth
above, the employer, Defendant Sureway Supermarket, must provide “some legitimate
nondiscriminatory reason” for the adverse action taken. If you find that the reason Defendant
Sureway Supermarket has given for limiting or segregating Vivian Patz, or for terminating her
employment, is unworthy of belief, you may, but are not required to, infer that Defendant Sureway
Supermarket was motivated by Plaintiff’s pregnancy or related medical condition.

        If Defendant Sureway Supermarket provides a nondiscriminatory reason for limiting or
segregating Plaintiff Victoria Patz, or for terminating Plaintiff Vivian Patz, the burden shifts to
Plaintiff Vivian Patz to show a genuine issue of material fact that either (1) Sureway
Supermarket’s nondiscriminatory reason is a pretext for discrimination, or (2) regardless of the
nondiscriminatory reason, the discriminatory reason was a motivating factor in the employer’s
action.

Authority: Fifth Circuit Pattern Jury Instruction 2014 11.1; 42 U.S.C. § 2000e-2(a)(1) (“because
of” prong of Title VII); 42 USC § 2000e-2(m) (“motivating factor” prong); 42 U.S.C. §2000e-
2(a)(1) (“limited” or “segregated” prong); Young v. United Parcel Serv., Inc., 135 S.Ct. 1338, 1354
(2015) (failure to accommodate pregnancy constitutes pregnancy discrimination); Appel v. Inspire
Pharm., Inc., 428 Fed. Appx. 279, 281 (5th Cir. 2011) (motivating factor and burden shifting
framework); Alvarado v. Texas Rangers, 492 F.3d 605, 611 (5th Cir. 2007) (burden shifting
framework); Suire v. LCS Corr. Servs, Inc., 930 So. 2d 221, 224 (La. App. 3 Cir. 2006) (Louisiana


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jurisprudence analyzing cases under the Louisiana Pregnancy Discrimination Act has reviewed
such claims following the analysis set forth in federal cases for discrimination under Title VII.")
(citing Brittain v. Family Care Serv., Inc., 34,787, pp. 4-5 (La.App. 2 Cir. 6/20/01), 801 So.2d
457, 460-61).



  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #9

        Plaintiffs’ counsel provided their proposed instructions on Monday, January 14th and met
with Defendants’ counsel on Wednesday, January 16th, but did not receive comments on this jury
instruction or an alternate instruction in time for consideration here. Plaintiffs reserve the right to
file objections or comments in regard to Defendants’ proposed instruction provided below.


DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 9

              TITLE VII AND PREGNANCY DISCRIMINATION ACT AND
                 LOUISIANA PREGNANCY DISCRIMINATION ACT

       Plaintiff Vivian Patz claims that:

          2(a)
       5. She would not have been discharged but for her pregnancy or related medical condition;

           OR

          2(b)
       6. Defendant Sureway Supermarket’s firing of Plaintiff Vivian Patz was motivated by her
          pregnancy or pregnancy related medical condition.

       7. Because of her pregnancy she was sent home to get a doctor’s note; and

       It is unlawful for an employer to discriminate against an employee because of the
employee's pregnancy or pregnancy related medical condition. An employer may, however,
terminate an employee for other reasons, good or bad, fair or unfair.

        Louisiana recognizes the doctrine of "employment at will". Absent a specific contract or
agreement establishing a fixed term of employment, an employer may generally discharge an
employee at any time for any reason without incurring liability for the discharge, provided that
the discharge does not violate any statutory or constitutional provision.


        To prove unlawful discrimination, Plaintiff Vivian Patz must prove by a preponderance of
the evidence that:


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      2(a)
   2. Defendant Sureway Supermarket would not have fired Plaintiff Vivian Patz in the absence
      of – in other words, but for – her pregnancy or pregnancy related medical condition.

       Mrs. Patz does not have to prove that unlawful discrimination was the only reason
       Defendant Sureway Supermarket fired her. But Mrs. Patz must prove that Defendant
       Sureway Supermarket’s decision to fire her would not have occurred in the absence of such
       discrimination.

   OR

      2(m)
   2. Defendant Sureway Supermarket’s firing of Plaintiff Vivian Patz was motivated by her
      pregnancy or pregnancy related medical condition.

       Mrs. Patz does not have to prove that unlawful discrimination was the only reason
       Defendant Sureway Supermarket fired her, but she must show that her pregnancy was a
       motivating factor. See Jury Instruction No. ____ for instructions on what is a motivating
       factor.

                      Both 2(a) and 2(m)
                      If you find that the reason Defendant Sureway has
              given for terminating Vivian Patz’ employment is unworthy
              of belief, you may, but are not required to, infer that
              Defendant Sureway was motivated by Plaintiff’s pregnancy.

       2(m)
                  If you find that Plaintiff Vivian Patz’s pregnancy was a
              motivating factor in the Defendant Sureway’s decision to
              terminate her, even though other considerations were
              factors in the decision, then you must determine whether
              Defendant Sureway proved by a preponderance of the
              evidence that it would have made the same decision even if it
              had not considered Plaintiff Vivian Patz’s pregnancy.

Authority: Fifth Circuit Pattern Jury Instruction 2014 11.1 and 11.13       `; 42 U.S.C. § 2000e-
2(a)(1) (“because of” prong of Title VII); 42 USC § 2000e-2(m) (“motivating factor” prong); 42
U.S.C. §2000e-2(a)(1) (“limited” or “segregated” prong); Young v. United Parcel Serv., Inc., 135
S.Ct. 1338, 1354 (2015) (failure to accommodate pregnancy constitutes pregnancy
discrimination); Appel v. Inspire Pharm., Inc., 428 Fed. Appx. 279, 281 (5th Cir. 2011) (motivating
factor and burden shifting framework); Alvarado v. Texas Rangers, 492 F.3d 605, 611 (5th Cir.
2007) (burden shifting framework); Suire v. LCS Corr. Servs, Inc., 930 So. 2d 221, 224 (La. App.
3 Cir. 2006) (Louisiana jurisprudence analyzing cases under the Louisiana Pregnancy
Discrimination Act has reviewed such claims following the analysis set forth in federal cases for


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discrimination under Title VII.") (citing Brittain v. Family Care Serv., Inc., 34,787, pp. 4-5 (La.App.
2 Cir. 6/20/01), 801 So.2d 457, 460-61). Huang v. Louisiana State Bd. Of Trustees for State
Colleges and Universities, 781 So.2d 1 (La. App. 1stCir. 2000) (Louisiana “at will” in
employment).




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 10

                    TITLE VII AND PREGNANCY DISCRIMINATION:
                               MOTIVATING FACTOR

         You must decide whether Plaintiff Vivian Patz’s pregnancy was a material and important
ingredient in Defendant Sureway Supermarket’s decision to terminate Plaintiff Vivian Patz. To
find in favor of Plaintiff Vivian Patz, you do not need to conclude that her pregnancy was the only
reason for Defendant’s decision, only that it was a material and important factor.

       If you find that the reason Defendant Sureway Supermarket has given for firing Plaintiff
Vivian Patz is unworthy of belief, you may, but are not required to, infer that Sureway Supermarket
was motivated by Plaintiff’s pregnancy or related medical condition.

           a. Comparative Employees

        If you find that Defendant Sureway Supermarket treated Plaintiff Vivian Patz differently
than similarly-situated individuals without pregnancy-related medical conditions, you may, but are
not required to, infer that Defendant’s decision to select Plaintiff Vivian Patz for termination was
motivated by discriminatory animus rather than a legitimate motive, intent, or state of mind.

           b. Temporal Proximity

        If you find that there was a close temporal proximity between the time Defendants were
made aware of Plaintiff Vivian Patz’s pregnancy and her requests for accommodation related to
her medical conditions and the decision to terminate Plaintiff Vivian Patz, you may infer that
discriminatory animus was a material and important factor in Defendants’ decision to terminate
her.
Authority: Mayberry v. Vought Aircraft Co., 55 F.3d 1086, 1090 (5th Cir. 1995) (when an
employer disciplines an employee for a breach of a work rule, a plaintiff could establish a Title
VII prima facie case “by showing ‘either that he did not violate the rule or that, if he did, white
employees who engaged in similar acts were not punished similarly’”) (quoting Green v.
Armstrong Rubber Co., 612 F.2d 967,968 (5th Cir. 1980), cert. denied, 449 U.S. 879 (1980));
Eugene v. Rumsfield, 168 F. Supp. 2d 655, 669-70 (S.D. Tex. 2001) (plaintiff may either show
another similarly situated employee or “evidence, either circumstantial or direct, from which a
factfinder might reasonably conclude that the employer intended to discriminate”); Robinson v.
City of Pittsburgh, 120 F.3d 1286, 1302 (3d Cir. 1997); Jalil v. Avdel Corp., 873 F.2d 701, 708
(3d Cir. 1989) (discharge of plaintiff two days after filing EEOC complaint found to be sufficient,
under the circumstances, to establish causation); Fairchild v. All American Check Cashing, Inc.,
F.3d 959 (5th Cir. 2016) (applying temporal proximity analysis from Title VII retaliation claims
to a Title VII pregnancy discrimination claim).


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #10



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        Plaintiffs’ counsel provided their proposed instructions on Monday, January 14th and met
with Defendants’ counsel on Wednesday, January 16th, but did not receive comments on this
jury instruction or an alternate instruction in time for consideration here. Plaintiffs reserve the
right to file objections or comments in regard to Defendants’ proposed instruction provided
below.


DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 10

                   TITLE VII AND PREGNANCY DISCRIMINATION:
                              MOTIVATING FACTOR

        You must decide whether Plaintiff Vivian Patz’s pregnancy was a material and important
factor in Defendant Sureway Supermarket’s decision to terminate Mrs. Patz. To find in favor of
Mrs. Patz, you do not need to conclude that her pregnancy was the only reason for Defendant’s
decision, only that it was a material and important factor.

       If you find that the reason Defendant Sureway Supermarket has given for firing Plaintiff
Vivian Patz is unworthy of belief, you may, but are not required to, infer that Sureway Supermarket
was motivated by Plaintiff’s pregnancy or related medical condition.


      To prove that Plaintiff was unlawfully discriminated against, Plaintiff must prove by a
preponderance of the evidence that:
      a. Defendant, Sureway Supermarket, fired Plaintiff, Vivian Patz, AND
      b. Vivan Patz’s pregnancy was a material and important factor in Sureway firing her.

[Affirmative Defense Instruction (?)]
       If you find that Plaintiff Vivian Patz’s pregnancy was a motivating factor in Sureway’s
decision to fire her, even though other considerations were factors in the decision, then you must
determine whether Sureway has proved, by a preponderance of the evidence that it would have
made the same decision even if it had not considered Vivian Patz’s pregnancy.

           a. Comparative Employees

        If you find that Defendant Sureway Supermarket treated Mrs. Patz differently than
similarly-situated individuals without pregnancy-related medical conditions, you may, but are not
required to, infer that Defendant’s decision to select Mrs. Patz for termination was motivated by
discriminatory animus rather than a legitimate motive, intent, or state of mind.

           b. Temporal Proximity

      If you find that there was a close temporal proximity between the time Defendants were
made aware of Mrs. Patz’s pregnancy and her requests for accommodation related to her medical



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conditions and the decision to terminate Mrs. Patz, you may infer that discriminatory animus was
a material and important factor in Defendants’ decision to terminate her.


Authority: Mayberry v. Vought Aircraft Co., 55 F.3d 1086, 1090 (5th Cir. 1995) (when an
employer disciplines an employee for a breach of a work rule, a plaintiff could establish a Title
VII prima facie case “by showing ‘either that he did not violate the rule or that, if he did, white
employees who engaged in similar acts were not punished similarly’”) (quoting Green v.
Armstrong Rubber Co., 612 F.2d 967,968 (5th Cir. 1980), cert. denied, 449 U.S. 879 (1980));
Eugene v. Rumsfield, 168 F. Supp. 2d 655, 669-70 (S.D. Tex. 2001) (plaintiff may either show
another similarly situated employee or “evidence, either circumstantial or direct, from which a
factfinder might reasonably conclude that the employer intended to discriminate”); Robinson v.
City of Pittsburgh, 120 F.3d 1286, 1302 (3d Cir. 1997); Jalil v. Avdel Corp., 873 F.2d 701, 708
(3d Cir. 1989) (discharge of plaintiff two days after filing EEOC complaint found to be sufficient,
under the circumstances, to establish causation); Fairchild v. All American Check Cashing, Inc.,
F.3d 959 (5th Cir. 2016) (applying temporal proximity analysis from Title VII retaliation claims
to a Title VII pregnancy discrimination claim).




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 11

         AMERICANS WITH DISABILITIES ACT DISCRIMINATION CLAIM:
                          ACTUAL DISABILITY

        Plaintiff Vivian Patz claims that Defendant Sureway Supermarket discriminated against
her because she had a disability by terminating because of her pregnancy-related physical
limitations.

       Defendant Sureway Supermarket denies Plaintiff Vivian Patz’s claims and contends that
she was terminated because she did not timely submit a doctor’s note regarding her limitations and
because she failed to communicate with Sureway regarding her impending return date or what
accommodations might be needed based on those limitations.

        It is unlawful for an employer to discriminate against an employee because of the
employee’s disability. Unlawful discrimination can include terminating a qualified individual with
a disability.

        A typical, low-risk pregnancy is not considered a disability under the ADA, but
complications related to pregnancy that restrict one or more major life activities have been found
to be disabilities. Major life activities include , but are not limited to, caring for oneself, performing
manual tasks, seeing, hearing, eating, sleeping, walking, standing, lifting, bending, speaking,
breathing, learning, reading, concentrating, thinking, communicating, and working.

        To prove that Plaintiff Vivian Patz’s disability was the reason for sending Plaintiff Vivian
Patz home early and/or terminate her, Plaintiff Vivian Patz must prove that the individuals at
Defendant Sureway who made the decision to take her off the schedule and/or terminate her knew
of her disability. You may consider evidence about information learned from communications with
Plaintiff Vivian Patz. In addition, an employer is presumed to know information in its files or
records about its employees. But an employer is not presumed to know information in records that
are not in its files.

      To succeed in this case, Plaintiff Vivian Patz must prove each of the following by a
preponderance of the evidence:

        1.      Plaintiff Vivian Patz was pregnant;

        2.      Plaintiff Vivian Patz’s pregnancy complications substantially limited her ability to
                conduct a major life activity;

        3.      Defendant Sureway Supermarket knew Plaintiff Vivian Patz was pregnant;

        4.      Defendant knew her pregnancy had complications that restricted one or more major
                life activities,



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        5.      Defendant Sureway Supermarket terminated Plaintiff Vivian Patz;

        6.      Plaintiff Vivian Patz was a qualified individual who could have performed the
                essential functions of cashier when Defendant Sureway Supermarket terminated
                her; and

        7.      Defendant Sureway Supermarket fired Plaintiff Vivian Patz because of her
                pregnancy and related disability. Plaintiff Vivian Patz does not have to prove that
                her pregnancy was the only reason Defendant Sureway Supermarket terminated
                her.

      If Plaintiff Vivian Patz has failed to prove any of these elements, then your verdict on her
ADA claim must be for Defendant Sureway Supermarket.

Authority: Fifth Circuit Pattern Jury Instruction 2014 11.8; McKellips v. Franciscan Health Sys.,
2013 WL 1991103, at *4 (W.D. Wash. May 13, 2013) (a typical, low-risk pregnancy is not
considered a disability under the ADA, but complications related to pregnancy that restrict
everyday activities have been found to be disabilities), Nayak v. St. Vincent Hosp. and Health Care
Ctr., Inc., 2013 WL 121838, at *3 (S.D. Ind. Jan. 9, 2013) (same). 42 U.S.C. § 12102(2)(A) (major
life activities).


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #11

       Plaintiffs propose this instruction because Defendants’ proposed instruction (infra)
contains language that is contrary to the law and misleading. Specifically:

Opposed Language:

        “A ‘disability’ is a physical impairment that substantially limits one or more major life
        activities. In determining whether Plaintiff Vivian Patz’s pregnancy substantially limited
        her ability to lift over ten pounds, you should compare her ability to [lift over ten pounds]
        with that of the average person. In doing so, you should also consider: (1) the nature and
        severity of the impairment; (2) how long the impairment will last or is expected to last; and
        (3) the permanent or long-term impact, or expected impact, of the impairment.”

        Plaintiffs propose that their language sufficient states the elements of a disability in the
context of a pregnancy: “A typical, low-risk pregnancy is not considered a disability under the
ADA, but complications related to pregnancy that restrict one or more major life activities have
been found to be disabilities.” This statement instructs the jury to review Plaintiff Vivian Patz’s
physical impairment and whether it substantially limits one or more major life activities. It is
Plaintiffs’ view that the form instruction for a disability does not easily translate to a plaintiff with
pregnancy, especially for the language on comparing to an average person. Plaintiff’s proposed
language states every element of the disability definition under the ADA



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Opposed Language:

       “Temporary impairments with little or no long-term impact are not sufficient.”

        Defendants seek inclusion of this language based on the Fifth Circuit Pattern jury
instruction 11.8. With this language is a footnote that states “This language should be used only if
supported by the evidence.” For pregnancy complications, numerous courts have held that such
physical impairments related to pregnancy may qualify as a disability under the 42 US.C. § 12102
if they restrict one or more major life activities. McKellips v. Franciscan Health Sys., 2013 WL
1991103, at *4 (W.D. Wash. May 13, 2013) (a typical, low-risk pregnancy is not considered a
disability under the ADA, but complications related to pregnancy that restrict everyday activities
have been found to be disabilities), Nayak v. St. Vincent Hosp. and Health Care Ctr., Inc., 2013
WL 121838, at *3 (S.D. Ind. Jan. 9, 2013) (same); Hogan v. Ogden, No. CV-06-5078-EFS, 2008
WL 2954245, at *5 (E.D. Wash. July 30, 2008) (finding that “it is a question for the jury whether
it is a jury question as to whether Plaintiff's pregnancy constituted a physical impairment
substantially limiting [a] major life activity”); Higgins v. Northwest Farm Credit Services, ACA,
No. 4:16-cv-00400-DCN, n.11 (D. Idaho May 2, 2018) (citing Hogan for same). Defendants cite
no cases where a pregnant plaintiff was barred from bringing an ADA claim because pregnancy
complications were the type of “temporary impacts” anticipated by this instruction.

Opposed Language:

       “Nor is an employer required to draw conclusions that an individual has a disability if it is
       not obvious to an ordinary person.”

         Defendants seek inclusion of this language based on the Fifth Circuit Pattern jury
instruction 11.8. The original instruction states “Nor is an employer required to draw conclusions
that an individual has a mental or psychological disorder if it is not obvious to an ordinary person.”
Defendants’ proposed language for this sentence completely changes the interpretation of the Fifth
Circuit jury instruction. This jury instruction specifically refers to mental or psychological
disorders – not any disorder that have no obvious appearance. Thus, the proposed language is also
irrelevant under Federal Rule of Evidence 401 because Plaintiffs never allege any mental of
psychological disorder.

In Support of PLAINTIFFS’ Proposed Language:

PLAINTIFFS’ Language:

       “To prove that Plaintiff Vivian Patz’s disability was the reason for sending Plaintiff Vivian
       Patz home early and/or terminate her, Plaintiff Vivian Patz must prove that the individuals
       at Defendant Sureway who made the decision to take her off the schedule and/or terminate
       her knew of her disability. You may consider evidence about information learned from
       communications with Plaintiff Vivian Patz. In addition, an employer is presumed to know
       information in its files or records about its employees.”



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        Plaintiffs seek in include this language which is part of the Fifth Circuit Jury Instruction
11.8. Defendants seek to only include the last sentence of this paragraph, but Plaintiffs find that
the entire paragraph illuminates best how the jury can determine the knowledge of the Defendants.
The jury must look at the communications with the plaintiffs and the legal presumption of
knowledge of the files’ content. It would be misleading to only include the last sentence that is the
inverse of the legal presumption of knowledge of the files’ content.



DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 11

         AMERICANS WITH DISABILITIES ACT DISCRIMINATION CLAIM:
                          ACTUAL DISABILITY

        Plaintiff Vivian Patz claims that Defendant Sureway Supermarket discriminated against
her because she had a disability by terminating because of her pregnancy-related physical
limitations.

       Defendant Sureway Supermarket denies Plaintiff Vivian Patz’s claims and contends that
she was terminated because she did not timely submit a doctor’s note regarding her limitations and
because she failed to communicate with Sureway regarding her impending return date or what
accommodations might be needed based on those limitations.

        It is unlawful for an employer to discriminate against an `employee because of the
employee’s disability. Unlawful discrimination can include terminating a qualified individual with
a disability. A typical, low-risk pregnancy is not considered a disability under the ADA, but
complications related to pregnancy that restrict one or more major life activities have been found
to be disabilities.
                  A “disability” is a physical impairment that substantially limits
             one or more major life activities. In determining whether Plaintiff
             Vivian Patz’s pregnancy substantially limited her ability to lift over ten
             pounds, you should compare her ability to lift over ten pounds with that
             of the average person. In doing so, you should also consider: (1) the
             nature and severity of the impairment; (2) how long the impairment
             will last or is expected to last; and (3) the permanent or long-term
             impact, or expected impact, of the impairment. Temporary impairments
             with little or no long-term impact are not sufficient.
       An employer is not presumed to know information in records that are not in its files. Nor
is an employer required to draw conclusions that an individual has a disability if it is not
obvious to an ordinary person.

      To succeed in this case, Plaintiff Vivian Patz must prove each of the following by a
preponderance of the evidence:




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       1. Plaintiff Vivian Patz was pregnant;

       2. Plaintiff Vivian Patz’s pregnancy substantially limited her ability to lift more than 10
          pounds and the inability to lift more than 10 pounds is a major life activity;

       3. Defendant Sureway Supermarket knew Plaintiff Vivian Patz was pregnant;

       4. Defendant knew her pregnancy had complications that restricted one or more major life
          activities, and ;

       5. Defendant Sureway Supermarket terminated Plaintiff Vivian Patz;

       6. Plaintiff Vivian Patz was a qualified individual who could have performed the essential
          functions of cashier and stocker when Defendant Sureway Supermarket terminated her;
          and

       7. Defendant Sureway Supermarket fired Plaintiff Vivian Patz because of her pregnancy
          and related disability. Plaintiff Vivian Patz does not have to prove that her pregnancy
          was the only reason Defendant Sureway Supermarket terminated her.

      If Plaintiff Vivian Patz has failed to prove any of these elements, then your verdict on her
ADA claim must be for Defendant Sureway Supermarket.

Authority: Fifth Circuit Pattern Jury Instruction 2014 11.8; McKellips v. Franciscan Health Sys.,
2013 WL 1991103, at *4 (W.D. Wash. May 13, 2013) (a typical, low-risk pregnancy is not
considered a disability under the ADA, but complications related to pregnancy that restrict
everyday activities have been found to be disabilities), Nayak v. St. Vincent Hosp. and Health Care
Ctr., Inc., 2013 WL 121838, at *3 (S.D. Ind. Jan. 9, 2013) (same).




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 12

         AMERICANS WITH DISABILITIES ACT DISCRIMINATION CLAIM:
                      “REGARDED AS” DISABILITY

        Plaintiff Vivian Patz claims that she was discriminated against because Defendant Sureway
Supermarket regarded her as having an impairment, specifically of having a pregnancy which
limited her ability to lift over ten pounds. Defendant Sureway Supermarket denies Plaintiff Vivian
Patz’s claims and contends that she was terminated she did not timely submit a doctor’s note
regarding her limitations and because she failed to communicate with Sureway regarding her
impending return date or what accommodations might be needed based on those limitations.

       Plaintiff Vivian Patz claims that she could have performed the essential functions of cashier
and stocker when Defendant Sureway Supermarket terminated her employment.

        It is unlawful to terminate a qualified individual who is regarded as having an impairment.
An individual is “regarded as” having an impairment if the individual establishes that she has been
subjected to discrimination because of an actual or perceived impairment, whether or not it limits
or is perceived to limit a major life activity.

        To succeed in this case, Plaintiff Vivian Patz must prove the following by a preponderance
of the evidence:

       1.    Plaintiff Vivian Patz could have performed the essential functions of cashier when
       Defendant Sureway Supermarket terminated her;

       2.      Plaintiff Vivian Patz was regarded as having a physical impairment;

       3.    Defendant Sureway Supermarket regarded Plaintiff Vivian Patz as having an
       impairment; and

       4.     Defendant Sureway Supermarket terminated Plaintiff Vivian Patz because she was
       regarded as having an impairment.

        An individual is regarded as having an impairment if the individual establishes that she has
been subjected to discrimination because of an actual or perceived impairment, whether or not it
limits or is perceived to limit a major life activity.

       If Plaintiff Vivian Patz has failed to prove any of these elements, then your verdict must be
for Defendant Sureway Supermarket.

Authority: Fifth Circuit Pattern Jury Instruction 2014 11.8.




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  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #12

       Plaintiffs propose this instruction because Defendants’ proposed instruction (infra)
contains language that is contrary to the law and misleading. Specifically:

Opposed Language:

        “A ‘disability’ is a physical impairment that substantially limits one or more major life
        activities. In determining whether Plaintiff Vivian Patz’s pregnancy substantially limited
        her ability to lift over ten pounds, you should compare her ability to [lift over ten pounds]
        with that of the average person. In doing so, you should also consider: (1) the nature and
        severity of the impairment; (2) how long the impairment will last or is expected to last; and
        (3) the permanent or long-term impact, or expected impact, of the impairment.”

        Defendants propose this language that is not featured in the Fifth Circuit Jury Instruction
pattern for a ‘regarded as’ disability claim under the ADA. In fact, the pattern instruction
specifically states: “An individual is regarded as having an impairment if the individual establishes
that she has been subjected to discrimination because of an actual or perceived impairment,
whether or not it limits or is perceived to limit a major life activity.” This implies that the perceived
impairment need not fit the traditional definition of a disability under 42 U.S.C. § 12102(2)(A).
As such, Plaintiffs oppose the inclusion of this language as not fitting the circuit pattern and
imposing new elements into this claim. [INSERT DAVE’S RESEARCH]

Opposed Language:

        “Temporary impairments with little or no long-term impact are not sufficient.”

        Defendants seek inclusion of this language based on the Fifth Circuit Pattern jury
instruction 11.8. With this language is a footnote that states “This language should be used only if
supported by the evidence.” For pregnancy complications, numerous courts have held that such
physical impairments related to pregnancy may qualify as a disability under the 42 US.C. § 12102
if they restrict one or more major life activities. McKellips v. Franciscan Health Sys., 2013 WL
1991103, at *4 (W.D. Wash. May 13, 2013) (a typical, low-risk pregnancy is not considered a
disability under the ADA, but complications related to pregnancy that restrict everyday activities
have been found to be disabilities), Nayak v. St. Vincent Hosp. and Health Care Ctr., Inc., 2013
WL 121838, at *3 (S.D. Ind. Jan. 9, 2013) (same); Hogan v. Ogden, No. CV-06-5078-EFS, 2008
WL 2954245, at *5 (E.D. Wash. July 30, 2008) (finding that “it is a question for the jury whether
it is a jury question as to whether Plaintiff's pregnancy constituted a physical impairment
substantially limiting [a] major life activity”); Higgins v. Northwest Farm Credit Services, ACA,
No. 4:16-cv-00400-DCN, n.11 (D. Idaho May 2, 2018) (citing Hogan for same). Defendants cite
no cases where a pregnant plaintiff was barred from bringing an ADA claim because pregnancy
complications were the type of “temporary impacts” anticipated by this instruction.


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Opposed Language:

       “Nor is an employer required to draw conclusions that an individual has a disability if it is
       not obvious to an ordinary person.”

         Defendants seek inclusion of this language based on the Fifth Circuit Pattern jury
instruction 11.8. The original instruction states “Nor is an employer required to draw conclusions
that an individual has a mental or psychological disorder if it is not obvious to an ordinary person.”
Defendants’ proposed language for this sentence completely changes the interpretation of the Fifth
Circuit jury instruction. This jury instruction specifically refers to mental or psychological
disorders – not any disorder that have no obvious appearance. Thus, the proposed language is also
irrelevant under Federal Rule of Evidence 401 because Plaintiffs never allege any mental of
psychological disorder.


DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 12

         AMERICANS WITH DISABILITIES ACT DISCRIMINATION CLAIM:
                      “REGARDED AS” DISABILITY

        Plaintiff Vivian Patz claims that she was discriminated against because Defendant Sureway
Supermarket regarded her as having an impairment, specifically of having a pregnancy which
limited her ability to lift over ten pounds. Defendant Sureway Supermarket denies Plaintiff Vivian
Patz’s claims and contends that she was terminated she did not timely submit a doctor’s note
regarding her limitations and because she failed to communicate with Sureway regarding her
impending return date or what accommodations might be needed based on those limitations

Plaintiff Vivian Patz claims that she could have performed the essential functions of cashier and
stocker when Defendant Sureway Supermarket terminated her employment.

        It is unlawful to terminate a qualified individual who is regarded as having an impairment
. An individual is “regarded as” having an impairment if the individual establishes that she has
been subjected to discrimination because of an actual or perceived impairment, whether or not it
limits or is perceived to limit a major life activity.

                   A “disability” is a physical impairment that substantially limits
              one or more major life activities. In determining whether Plaintiff
              Vivian Patz’s pregnancy substantially limited her ability to lift over ten
              pounds, you should compare her ability to lift over ten pounds with that
              of the average person. In doing so, you should also consider: (1)
              the nature and severity of the impairment; (2) how long
              the impairment will last or is expected to last; and (3)
              the permanent or long-term impact, or expected impact, of
              the impairment. Temporary impairments with little or no


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             long-term impact are not sufficient.


      An employer is not presumed to know information in records
that are not in its files. Nor is an employer required to draw
conclusions that an individual has a disability if it is not obvious to an
ordinary person.

        To succeed in this case, Plaintiff Vivian Patz must prove the following by a preponderance
of the evidence:

       1. Plaintiff Vivian Patz could have performed the essential functions of cashier and
          stocker when Defendant Sureway Supermarket terminated her;


       2. Defendant Sureway Supermarket regarded Plaintiff Vivian Patz as having an
          impairment; and

       3. Defendant Sureway Supermarket terminated Plaintiff Vivian Patz because she was
          regarded as having an impairment.


        If Plaintiff Vivian Patz has failed to prove any of these elements, then your verdict must
be for Defendant Sureway Supermarket.

Authority: Fifth Circuit Pattern Jury Instruction 2014 11.8.




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 13

         AMERICANS WITH DISABILITIES ACT DISCRIMINATION CLAIM:
                FAILURE TO ACCOMMODATE A DISABILITY

       Plaintiff Vivian Patz claims that Defendant Sureway Supermarket failed to reasonably
accommodate her disability, specifically her pregnancy which limited her ability to lift more than
10 pounds.

        Defendant Sureway Supermarket denies Plaintiff Vivian Patz’s claims and contends that
Plaintiff Vivian Patz failed to timely provide a doctor’s note stating her limitations.

        The law requires an employer to make reasonable accommodations for an employee’s
disability. To succeed in this case, Plaintiff Vivian Patz must prove each of the following by a
preponderance of the evidence:

       1.      Plaintiff Vivian Patz could have performed the essential functions of cashier when
               Defendant Sureway Supermarket terminated her if Plaintiff Vivian Patz had been
               provided with reasonable accommodations.

       2.      Plaintiff Vivian Patz had a pregnancy which substantially limited her ability to lift
               more than 10 pounds;

       3.      Defendant Sureway Supermarket knew of Plaintiff Vivian Patz’s pregnancy and
               related lifting limitations;

       4.      Plaintiff requested an accommodation;

       5.      Providing an accommodation would have been reasonable; and

       6.      Defendant Sureway Supermarket failed to provide a reasonable accommodation.

Relevant Definitions:

Qualified Individual

        A “qualified individual” is one who, with or without reasonable accommodations, can
perform the essential functions of the job. The term “essential functions” means the fundamental
job duties of the employment position Plaintiff Vivian Patz held: cashier at Sureway Supermarket.
The term does not include the marginal functions of the position.

        Qualified individual also means that the individual satisfies the requisite skill, experience,
education, and other job-related requirements of the employment position the individual holds or
desires.



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Accommodation

        The term “accommodation” means making modifications to the workplace that allow a
person with a disability to perform the essential functions of the job, to attain the level of
performance available to similarly situated employees who are not disabled, or to enjoy equal
benefits and privileges of employment as are enjoyed by similarly situated employees who are not
disabled.

Reasonable Accommodation

        A “reasonable” accommodation is one that could reasonably be made under the
circumstances. It may include, but is not limited to: (a) making existing facilities used by
employees readily accessible to and usable by individuals with disabilities; or (b) job restructuring,
part-time or modified work schedules, reassignment to a vacant position, acquisition or
modification of equipment or devices, appropriate adjustment or modifications of examinations,
training materials, or policies. There may be other reasonable accommodations.

Undue Hardship

        An employer need not provide an accommodation to the known limitations of a qualified
employee or applicant if the employer proves that the accommodation would impose an undue
hardship on its business operations. The employer has the burden of proving by a preponderance
of the evidence that the accommodation would have imposed an undue hardship.

        An employer is not required to restructure a job if that would reallocate the job’s essential
functions. An employer is not obligated to hire additional employees or reassign existing workers
to assist an employee with a disability. The ADA does not require an accommodation that would
cause other employees to work harder, work longer hours, or lose opportunities. An employer is
not obligated to provide an employee the accommodation he or she requests or prefers. The
employer need only provide some reasonable accommodation.

         An “undue hardship” is an action requiring the employer to incur significant difficulty or
expense. Factors to be considered in determining whether the accommodation would cause an
undue hardship include: (a) the nature and cost of the accommodation; (b) the overall financial
resources of Sureway Supermarket involved in the accommodation, the number of persons
employed there, the effect on expenses and resources, or the impact otherwise on Defendant
Sureway Supermarket’s operation; (c) the overall financial resources of the employer, the overall
size of the business with respect to the number of employees, and the number, type, and location
of its facilities; and (d) the type of operation of the employer, including the composition, structure,
and functions of the workforce, the impact of the accommodation on Sureway Supermarket’s
operation, including the impact on the ability of other employees to perform their duties.

Authority: Fifth Circuit Pattern Jury Instruction 2014 11.10; McKellips v. Franciscan Health Sys.,
2013 WL 1991103, at *4 (W.D. Wash. May 13, 2013) (a typical, low-risk pregnancy is not
considered a disability under the ADA, but complications related to pregnancy that restrict


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everyday activities have been found to be disabilities), Nayak v. St. Vincent Hosp. and Health Care
Ctr., Inc., 2013 WL 121838, at *3 (S.D. Ind. Jan. 9, 2013) (same).




  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #13

       Plaintiffs propose this instruction because Defendants’ proposed instruction (infra)
contains language that is contrary to the law and misleading. Specifically:

Opposed Language:

       “A ‘disability’ is a physical impairment that substantially limits one or more major life
       activities. In determining whether Plaintiff Vivian Patz’s pregnancy substantially limited
       her ability to lift over ten pounds, you should compare her ability to [lift over ten pounds]
       with that of the average person. In doing so, you should also consider: (1) the nature and
       severity of the impairment; (2) how long the impairment will last or is expected to last; and
       (3) the permanent or long-term impact, or expected impact, of the impairment.”

        Plaintiffs wish to strike this language as being unnecessarily duplicative of the disability
instruction already included in the Americans With Disabilities: Actual Disability instruction.
Further, it is better suited for that individual instruction than this one.

Opposed Language:

       “Plaintiff Vivian Patz could have performed the essential functions of cashier and stocker
       when Defendant Sureway Supermarket terminated her if Plaintiff Vivian Patz had been
       provided with the accommodation of scanning heavy items in the cart with a handheld
       scanner or referencing the barcode list of heavy items, rather than lift heavy items onto the
       conveyor belt, and moving items can-by-can instead of entire boxes at a time.”

        Plaintiff proposes instead “Plaintiff Vivian Patz could have performed the essential
functions of cashier when Defendant Sureway Supermarket terminated her if Plaintiff Vivian Patz
had been provided with reasonable accommodations.” This reworking of the instruction removes
anticipated theories of the case and allows the jury to assess on their own what accommodations
were available and whether those accommodations are reasonable.

In Support of Plaintiffs’ Proposed Language:

Plaintiffs’ Language:

       “The employer need only provide some reasonable accommodation.”

       Defendants propose including “An employer is not obligated to provide an employee the


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accommodation he or she requests or prefers,” which is featured in a footnote of the Fifth Circuit
jury instruction pattern. However, the entirety of the footnote also includes the above proposed
language after the sentence proposed by Defendants. Plaintiffs assert that the first sentence,
without the second, clarifying sentence misleads the jury to think that no accommodation is
necessary.

Plaintiffs’ Language:

       “An “undue hardship” is an action requiring the employer to incur significant difficulty or
       expense. Factors to be considered in determining whether the accommodation would cause
       an undue hardship include: (a) the nature and cost of the accommodation; (b) the overall
       financial resources of Sureway Supermarket involved in the accommodation, the number
       of persons employed there, the effect on expenses and resources, or the impact otherwise
       on Defendant Sureway Supermarket’s operation; (c) the overall financial resources of the
       employer, the overall size of the business with respect to the number of employees, and the
       number, type, and location of its facilities; and (d) the type of operation of the employer,
       including the composition, structure, and functions of the workforce, the impact of the
       accommodation on Sureway Supermarket’s operation, including the impact on the ability
       of other employees to perform their duties.”

       This instruction is part of the Fifth Circuit Pattern Jury Instruction 11.10 and should be
included to instruct the jury on the specific factors required to determine whether an
accommodation is an undue hardship. This language is necessary under the pattern instruction.


DEFENDANTS’ PROPOSED JURY INSTRUCTION NO. 13

         AMERICANS WITH DISABILITIES ACT DISCRIMINATION CLAIM:
                FAILURE TO ACCOMMODATE A DISABILITY

       Plaintiff Vivian Patz claims that Defendant Sureway Supermarket failed to reasonably
accommodate her disability, specifically her pregnancy which limited her ability to lift more than
10 pounds.

        Defendant Sureway Supermarket denies Plaintiff Vivian Patz’s claims and contends that
Plaintiff Vivian Patz failed to timely provide a doctor’s note stating her limitations.

        The law requires an employer to make reasonable accommodations for an employee’s
disability. To succeed in this case, Plaintiff Vivian Patz must prove each of the following by a
preponderance of the evidence:

   1. Plaintiff Vivian Patz could have performed the essential functions of cashier and stocker
      when Defendant Sureway Supermarket terminated her if Plaintiff Vivian Patz had been
      provided with the accommodation of scanning heavy items in the cart with a handheld



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       scanner or referencing the barcode list of heavy items, rather than lift heavy items onto the
       conveyor belt, and moving items can-by-can instead of entire boxes at a time.

   2. Plaintiff Vivian Patz had a pregnancy which substantially limited her ability to lift more
      than 10 pounds;

   3. Defendant Sureway Supermarket knew of Plaintiff Vivian Patz’s pregnancy and related
      lifting limitations;

   4. Plaintiff requested an accommodation;

   5. Providing an accommodation would have been reasonable; and

   6. Defendant Sureway Supermarket failed to provide a reasonable accommodation.

Relevant Definitions:

       Disability

                  A “disability” is a physical impairment that substantially limits
             one or more major life activities. In determining whether Plaintiff
             Vivian Patz’s pregnancy substantially limited her ability to lift over ten
             pounds, you should compare her ability to lift over ten pounds with that
             of the average person. In doing so, you should also consider: (1)
             the nature and severity of the impairment; (2) how long
             the impairment will last or is expected to last; and (3)
             the permanent or long-term impact, or expected impact, of
             the impairment. Temporary impairments with little or no
             long-term impact are not sufficient.


       Qualified Individual

        A “qualified individual” is one who, with or without reasonable accommodations, can
perform the essential functions of the job. The term “essential functions” means the fundamental
job duties of the employment position Plaintiff Vivian Patz held: cashier and stocker at Sureway
Supermarket. The term does not include the marginal functions of the position.\

        Qualified” also means “that the individual satisfies the requisite skill, experience,
education, and other job-related requirements of the employment position the individual holds
or desires

       Accommodation



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        The term “accommodation” means making modifications to the work place that allow a
person with a disability to perform the essential functions of the job, to attain the level of
performance available to similarly situated employees who are not disabled, or to enjoy equal
benefits and privileges of employment as are enjoyed by similarly situated employees who are not
disabled.

       Reasonable Accommodation

        A “reasonable” accommodation is one that could reasonably be made under the
circumstances. It may include, but is not limited to: (a) making existing facilities used by
employees readily accessible to and usable by individuals with disabilities; or (b) job restructuring,
part-time or modified work schedules, reassignment to a vacant position, acquisition or
modification of equipment or devices, appropriate adjustment or modifications of examinations,
training materials, or policies. There may be other reasonable accommodations.

       Undue Hardship

        An employer need not provide an accommodation to the known limitations of a qualified
employee or applicant if the employer proves that the accommodation would impose an undue
hardship on its business operations. The employer has the burden of proving by a preponderance
of the evidence that the accommodation would have imposed an undue hardship.

        An employer is not required to restructure a job if that would reallocate the job’s essential
functions. An employer is not obligated to hire additional employees or reassign existing workers
to assist an em- ployee with a disability. The ADA does not require an accommodation that would
cause other employees to work harder, work longer hours, or lose opportunities. 18An employer
is not obligated to provide an employee the accom- modation he or she requests or prefers.

Authority: Fifth Circuit Pattern Jury Instruction 2014 11.10; McKellips v. Franciscan Health Sys.,
2013 WL 1991103, at *4 (W.D. Wash. May 13, 2013) (a typical, low-risk pregnancy is not
considered a disability under the ADA, but complications related to pregnancy that restrict
everyday activities have been found to be disabilities), Nayak v. St. Vincent Hosp. and Health Care
Ctr., Inc., 2013 WL 121838, at *3 (S.D. Ind. Jan. 9, 2013) (same).




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 14

                                FAIR HOUSING ACT CLAIM

       Plaintiffs Vivian and Michael Patz claim that Defendants Sureway Supermarket, SHH
Properties, and Shelly Jambon violated the Fair Housing Act by denying Vivian and Michael Patz
housing because Vivian became pregnant. Defendants deny this claim and contend that Plaintiffs
were not evicted from their apartment but rather voluntarily vacated.

       Under the Fair Housing Act, “familial status” is any household where any person is
pregnant. To succeed on their Fair Housing Act claim, Plaintiffs Vivian and Michael Patz must
prove by a preponderance of the evidence that:

   1. They are members of a protected class, namely that they are protected as “familial status”
      where any person of the family is pregnant; and

   2. Defendants illegally evicted Plaintiffs from their housing for discriminatory reasons.

        Landlords are prohibited from using “self-help” to retake property. In order to retake
property, a landlord must complete judicial proceedings or provide a tenant with written notice
and, after notice is given, find the property voluntarily abandoned by the tenant. To show that the
tenant abandoned the property, Defendants must show that Plaintiffs (1) physically abandoned the
property, and (2) had specific intent to voluntarily relinquish the property.

        After Plaintiffs Vivian and Michael Patz have made their prima facie case, the burden shifts
to Defendants Sureway Supermarket, SHH Properties, and Shelly Jambon to provide evidence that
the revocation or denial of the housing benefit furthered a legitimate, nondiscriminatory purpose.

        The justification requires actual evidence and must be more than an answer to the
complaint or an argument by counsel. If Defendants are able to meet this burden, then Plaintiffs
Vivian and Michael Patz can still prevail on their disparate treatment claim under the Fair Housing
Act if they are able to show, by a preponderance of the evidence, that the stated purpose for the
denial or revocation was really just a pretext for discrimination.
______________________________________________________________________________
Authority: McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973) (Title VII employment
discrimination case); 2922 Sherman Avenue Tenants’ Assn. v. District of Columbia, 444 F. 3d 673,
682 (D.C. Cir. 2006) (applying McDonnell’s burden shifting framework to Fair Housing Act case);
Sanghvi v. City of Claremont, 328 F.3d 532, 536-38 (9th Cir. 2003) (same); Reg’l Econ. Cmty.
Action Program, Inc. v. City of Middletown, 294 F.3d 35, 48-52 (2nd Cir. 2002) (same); Kormoczy
v. HUD, 53 F.3d 821, 823-24 (7th Cir. 1995) (same); Texas Dept. of Cmty. Affairs v. Burdine, 450
U.S. 248, 259 n.9 (1981) (a legitimate, nondiscriminatory purpose requires actual evidence and
must be more than “an answer to the complaint or [an] argument by counsel.”).

  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #14



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        Plaintiffs’ counsel provided their proposed instructions on Monday, January 14th and met
with Defendants’ counsel on Wednesday, January 16th, but did not receive comments on this
jury instruction or an alternate instruction in time for consideration here. Plaintiffs reserve the
right to file objections or comments in regard to Defendants’ proposed instruction provided
below.


DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 14

                                        FAIR HOUSING ACT CLAIM

       Plaintiffs Vivian and Michael Patz claim that Defendants Sureway Supermarket, SHH
Properties, and Shelly Jambon violated the Fair Housing Act by denying Vivian and Michael Patz
housing because Vivian became pregnant. Defendants deny this claim and contend that Plaintiffs
were not evicted from their apartment but rather voluntarily vacated.

       Under the Fair Housing Act, “familial status” is any household where any person is
pregnant. To succeed on their Fair Housing Act claim, Plaintiffs Vivian and Michael Patz must
prove by a preponderance of the evidence that:

    3. They are members of a protected class, namely that they are protected as “familial status”
       where any person of the family is pregnant; and

    4. Defendants illegally evicted Plaintiffs from their housing for discriminatory reasons.

        In order to retake property, a landlord Generally must file an eviction. An eviction is a
multi-step process. The first requirement is that a written notice to vacate the property be provided
to the tenants. Under Louisiana law, “[i]f a lessor chooses to cancel the lease and terminate the
lessee’s right of occupancy, the lessor must follow the statutory eviction prodcedures set out in La.
Code Civ. P. art. 4701 et seq.” The statutory eviction procedures require “written notice to vacate
the premises to be delivered to the lesee.” 2 There is an exception to the statutory eviction
requirements “in instances where the lessee has abandoned the leased premises.” 3 In making the
factual determination of whether leased premises have been abandoned, courts apply a “two-part
test, requiring proof of both [1] an act of abandonment and [ii] a specific intent to abandon.” 4
“Indicia of abandonment include a cessation of business activity or residential occupancy,
returning keys to the premises, and removal of equipment, furnishings, or other movables from the



Authority: Doc 148
2
  LA. Code Civ. P. art.4701.
3
  Southpark Cmty. Hosp., LLC v. Southpark Acquisition Co., LLC, 2013-59 (La. App. 3 Cir. 10/30/13), 126 So.3d 805,
816, writ denied, 2013-2794 (La. 2/28/14), 134 So.3d 1175 (citing Horacek v. Watson, 11-1345 (La.App. 3 Cir.
3/7/12), 86 So.3d 766).
4
  Indulge Island Grill, L.L.C. v. Island Grill, L.L.C., 2016-1133 (La. App. 4 Cir. 5/10/17), 220 So. 3d 154, 159 (quoting
Powell v. Cox, 92 So.2d 739, 742 (La. App. 2d Cir. 1957)).


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premises.” 5 “[T]he characteristic element of abandonment is voluntary relinquishment.”6
Louisiana courts consistently hold that “[i]n determining whether an abandonment has occurred,
there must be a showing that the lessee voluntarily relinquished the premises and intended to
terminate without vesting ownership in another.” 7


        If Plaintiffs Vivian and Michael Patz have made their prima facie case that they were
wrongfully evicted due to a discriminatory reason, the burden shifts to Defendants Sureway
Supermarket, SHH Properties, and Shelly Jambon to provide evidence that the revocation or denial
of the housing benefit furthered a legitimate, nondiscriminatory purpose.

        The justification requires actual evidence and must be more than an answer to the
complaint or an argument by counsel. If Defendants are able to meet this burden, then Plaintiffs
Vivian and Michael Patz can still prevail on their disparate treatment claim under the Fair Housing
Act if they are able to show, by a preponderance of the evidence, that the stated purpose for the
denial or revocation was really just a pretext for discrimination.

______________________________________________________________________________
Authority: McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973) (Title VII employment
discrimination case); 2922 Sherman Avenue Tenants’ Assn. v. District of Columbia, 444 F. 3d 673,
682 (D.C. Cir. 2006) (applying McDonnell’s burden shifting framework to Fair Housing Act case);
Sanghvi v. City of Claremont, 328 F.3d 532, 536-38 (9th Cir. 2003) (same); Reg’l Econ. Cmty.
Action Program, Inc. v. City of Middletown, 294 F.3d 35, 48-52 (2nd Cir. 2002) (same); Kormoczy
v. HUD, 53 F.3d 821, 823-24 (7th Cir. 1995) (same); Texas Dept. of Cmty. Affairs v. Burdine, 450
U.S. 248, 259 n.9 (1981) (a legitimate, nondiscriminatory purpose requires actual evidence and
must be more than “an answer to the complaint or [an] argument by counsel.”).




5
  La. Code Civ. Proc. 4731
6
  Powell v. Cox, 92 So.2d 739, 742 (La. App. 2d Cir. 1957) (citing New Orleans Bank & Tr. Co. v. City of New Orleans,
176 La. 946, 953, 147 So. 42, 44 (1933)); see also Southpark Cmty. Hosp., 126 So.3d at 816 (“In determining
whether abandonment has occurred, there must be a showing that the lessee voluntarily relinquished the
premises and intended to terminate without vesting ownership in another.”) (quoting Bill Kassel Farms, Inc. v.
Paul, 96-462, p. 5 (La. App 3 Cir. 12/11/96), 690 So.2d 807, 809, writ denied, 97-712 (La. 4/25/97), 692 So.2d 1095).
7
  Bill Kassel Farms, 690 So. 2d 807 at 809 (citing Preen v. LeRuth, 430 So.2d 825 (La.App. 5 Cir.1983)).


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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 15

                         FAIR HOUSING ACT CLAIM:
              PERSONAL LIABILITY OF DEFENDANT SHELLY JAMBON

        In special circumstances, owners or officers of a corporation can be liable for violations of
the Fair Housing Act. If you find that Defendant Shelly Jambon directed, authorized, or was
involved in the unlawful discriminatory eviction, then you must find her personally liable for the
violation of the Fair Housing Act.

Authority: R. Doc. 150 at 10-11. See also Meyer v. Holley, 537 U.S. 280, 284 (2003); Chavez v.
Aber, 122 F. Supp. 3d 581, 594 (W.D. Tex. 2015); Dillon v. AFBIC Dev. Corp., 597 F.2d 556
(5th Cir. 1979).


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #15

        Plaintiffs’ counsel provided their proposed instructions on Monday, January 14th and met
with Defendants’ counsel on Wednesday, January 16th, but did not receive comments on this jury
instruction or an alternate instruction in time for consideration here. Plaintiffs reserve the right to
file objections or comments in regard to Defendants’ proposed instruction provided below.

DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 15

        In special circumstances, owners or officers of a corporation can be liable for violations of
the Fair Housing Act if by his or her own conduct violated the federal antidiscrimination statutes.
If you find that Plaintiffs proved by a preponderance of the evidence that Defendant Shelly
Jambon, by her own conduct violated the federal discrimination statutes, then you may find her
liable for the violation of the Fair Housing Act.

Authority: Authority: Doc 150 p 11.




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 16

                ILLEGAL EVICTION CLAIM (BREACH OF CONTRACT)

       Plaintiffs Vivian and Michael Patz claim that Defendant Sureway Supermarket failed to
properly terminate their lease and evicted them from their apartment without following Louisiana
law. Defendant Sureway Supermarket denies this claim and contends that Plaintiffs were not
evicted from their apartment but rather voluntarily vacated the premises.

        In Louisiana, a lease to rent property can be verbal or written. When a lease is oral, the
parties to the lease must follow the default landlord-tenant rules under Louisiana law.

        Lessors, here Defendant Sureway Supermarket, have an obligation to protect the peaceful
possession of the premises by their tenants for the duration of their lease. Under Louisiana law, a
lease can only be terminated without cause by written notice at either five days before the end of
the term, or ten days before the end of an indefinite term. A lease can only be terminated for cause
with five-day written notice.

        An eviction is a multi-step process. The first requirement is that a written notice to vacate
the property be provided to the tenants. If the premises are abandoned after notice is given, then
the landlord need not proceed with the rest of the judicial process.

        To succeed on their illegal eviction claim, Plaintiffs Vivian and Michael Patz must prove
by a preponderance of the evidence that:

       1. They had a lease to rent property from Defendants Sureway Supermarket; and

       2. Defendant Sureway Supermarket evicted Plaintiffs Vivian and Michael Patz without
          following the steps required by Louisiana law.

        To show that Plaintiffs abandoned the property, Defendants must show that Plaintiffs (1)
physically abandoned the property, and (2) had specific intent to voluntarily relinquish the
property. If the property is abandoned, under Louisiana law, the notice must nonetheless be posted
at the premises for five days.

Authority: Louisiana Civil Code art. 2682; Louisiana Code of Civil Procedure art. 4701, 4703,
4731; Lacour v. Myer, 98 So. 2d 308, 310 (La. App. 1 Cir. 1957) (constructive eviction); Mansur
v. Cox, 2004-0140 (La. App. 1 Cir. 12/30/04), 898 So.2d 446 (constructive eviction).


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #16

        Plaintiffs’ counsel provided their proposed instructions on Monday, January 14th and met
with Defendants’ counsel on Wednesday, January 16th, but did not receive comments on this
jury instruction or an alternate instruction in time for consideration here. Plaintiffs reserve the


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right to file objections or comments in regard to Defendants’ proposed instruction provided
below.

DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 16

    WRONGFUL EVICTION CLAIM - BREACH OF CONTRACT AND TRESSPASS

Plaintiffs bring a breach of contract claim on the basis that they were wrongfully evicted in
breach of their lease agreement. Under Louisiana law, the contract of lease is subject to the rules
of conventional obligations, and when a lessee is wrongfully evicted, the lessor is liable for
contractual damages. Plaintiffs also bring a trespass claim on the basis that the alleged wrongful
eviction constituted an unlawful trespass. When a lessor takes the law in his hands by unlawfully
dispossessing a tenant, he commits a trespass and is liable for general damages. 8

To establish liability on their breach of contract and trespass claims, Plaintiffs must show they
were wrongfully evicted. 9

Under Louisiana law, if a lessor chooses to cancel the lease and terminate the lessee's right of
occupancy, the lessor must follow the statutory eviction procedures. The statutory eviction
procedures require written notice to vacate the premises to be delivered to the lessee. 10

There is an exception to the statutory eviction requirements in instances where the lessee has
abandoned the leased premises. In making the factual determination of whether leased premises
have been abandoned, courts apply a two-part test, requiring proof of both [i] an act of
abandonment and [ii] a specific intent to abandon. Indicia of abandonment include a cessation of
business activity or residential occupancy, returning keys to the premises, and removal of
equipment, furnishings, or other movables from the premises. The characteristic element of
abandonment is voluntary relinquishment. Louisiana courts consistently hold that in determining
whether an abandonment has occurred, there must be a showing that the lessee voluntarily
relinquished the premises and intended to terminate without vesting ownership in another. 11




8
  R. Doc. 148, p. 5.
9
  Id.
10
   Id., p.6
11
   Id.


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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 17

                         ILLEGAL EVICTION (TRESPASS CLAIM)
       Plaintiffs Vivian and Michael Patz claim that Defendants Sureway Supermarket and SHH
Properties failed to properly terminate their lease and evicted them from their apartment without
following Louisiana law. Defendant SHH Properties denies this claim and contends that Plaintiffs
were not evicted from their apartment but rather voluntarily vacated the premises.

        Failing to follow proper eviction procedures, and instead resorting to self-help to displace
a tenant, constitutes an illegal trespass of the premises. Lessors who fail to follow eviction
procedures required by law are liable for trespass. A lessor must provide written notice to vacate
the property and if the property is abandoned, the notice must nonetheless be posted at the premises
for five days. If the premises are abandoned after notice is given, then the landlord need not
proceed with the rest of the judicial process.

      To succeed on their trespass claim, Plaintiffs Vivian and Michael Patz must prove by a
preponderance of the evidence that Defendant Sureway Supermarket evicted Plaintiffs Vivian and
Michael Patz without providing the written notice required under Louisiana law.

Authority: R. Doc. 150 at 13; Fo-Coin Co. v. Drury, 349 So. 2d 382, 384 (La. Ct. App. 1977)
(“When a lessor takes the law in his hands by unlawfully dispossessing a tenant, he commits a
trespass and is liable for general damages.”); Weber v. McMillan, 285 So. 2d 349, 352 (La. Ct.
App. 1973), writ denied, 288 So. 2d 357 (La. 1974); La. Code of Civ. Proc. art. 4701 (“When a
lessee's right of occupancy has ceased because of the termination of the lease by expiration of its
term, action by the lessor, nonpayment of rent, or for any other reason, and the lessor wishes to
obtain possession of the premises, the lessor or his agent shall cause written notice to vacate the
premises to be delivered to the lessee. The notice shall allow the lessee not less than five days from
the date of its delivery to vacate the leased premises…”); La. Code Civ. Proc. art. 4703 (if the
premises are abandoned, notice may be tacked to the door); La. Code Civ. Proc. art. 4731(B)
(“After the required notice has been given, the lessor or owner, or agent thereof, may lawfully take
possession of the premises without further judicial process, upon a reasonable belief that the lessee
or occupant has abandoned the premises…”).


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #17

        Plaintiffs’ counsel provided their proposed instructions on Monday, January 14th and met
with Defendants’ counsel on Wednesday, January 16th, but did not receive comments on this
jury instruction or an alternate instruction in time for consideration here.




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 18

           LOUISIANA UNFAIR TRADE PRACTICES ACT (LUTPA) CLAIM

       Plaintiffs Vivian and Michael Patz bring claims against Defendants Sureway Supermarket
and SHH Properties for violation of the Louisiana Unfair Trade Practices Act (“LUTPA”) because
Defendants fired Plaintiff Vivian Patz; refused to accommodate her disability; illegally evicted
her and Plaintiff Michael Patz; threatened to call law enforcement, and barred them from Sureway
Supermarket, the only grocery store on Grand Isle. Plaintiffs also claim that Defendant Sureway
Supermarket violated LUTPA when they led her to believe that she could keep her job if she
provided a doctor’s note.

        LUTPA provides that “unfair methods of competition and unfair or deceptive acts or
practices in the conduct of any trade or commerce are unlawful.” To succeed on their LUTPA
claim, Plaintiffs Vivian and Michael Patz are required to prove by a preponderance of the evidence
that:

   1. Defendants Sureway Supermarket and SHH Properties’ acts or omissions in the course of
      trade or commerce were unfair or deceptive to Plaintiff; and

   2. Plaintiffs Vivian Patz and Michael Patz suffered an ascertainable loss because of
      Defendants Sureway Supermarket and SHH Properties’ conduct.

        A trade practice is unfair if it offends public policy and is immoral, unethical, oppressive,
or unscrupulous. What constitutes an unfair trade practice is determined on a case-by-case basis.
Acts which generally constitute unfair trade practices involve fraud, deception, misrepresentation,
breach of fiduciary duty, or other unethical conduct. The central question is to determine whether
a trade practice is fair is whether the defendant’s actions and conduct were reasonable.

         The motivation of Defendants Sureway Supermarket and SHH Properties is a critical
factor. Intent does not have to be proved with direct evidence of Defendants Sureway Supermarket
and SHH Properties’ intent to deceive. Because intent is difficult to prove directly, Plaintiffs
Vivian and Michael Patz can show circumstantial evidence of Defendants’ intent to deceive. It can
give rise to the inference that Defendants Sureway Supermarket and SHH Properties intended to
unfairly treat Plaintiffs Vivian and Michael Patz.

Authority: R. Doc. 150 at 13-14. See also Tubos de Acero de Mexico, S.A. v. Am. Int'l Inv. Corp.,
292 F.3d 471 (5th Cir. 2002); Moore v. Goodyear Tire and Rubber Company, 364 So.2d 630,
634 (1978) (not requiring intent to harm competition for direct illegal conduct against a
consumer); IberiaBank v. Broussard, 907 F.3d 826 (5th Cir. 2018); Balthazar v. Hensley R. Lee
Contracting, 214 So. 3d 1032, 1044 (La. App. 4 Cir. 2017) (acts which generally constitute
unfair trade practices involve fraud, deception, misrepresentation, breach of fiduciary duty, or
other unethical conduct; defendant’s motivation is critical; intent may be proven through
circumstantial evidence because of inherent difficulties in proving intent).



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  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #18

        Plaintiffs’ counsel provided their proposed instructions on Monday, January 14th and met
with Defendants’ counsel on Wednesday, January 16th, but did not receive comments on this
jury instruction or an alternate instruction in time for consideration here. Plaintiffs reserve the
right to file objections or comments in regard to Defendants’ proposed instruction provided
below.


DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 18

           LOUISIANA UNFAIR TRADE PRACTICES ACT (LUTPA) CLAIM

        Plaintiffs Vivian and Michael Patz bring claims against Defendants Sureway Supermarket
and SHH Properties for violation of the Louisiana Unfair Trade Practices Act (“LUTPA”) because
Defendants fired Mrs. Patz; refused to accommodate her disability; illegally evicted her and
Plaintiff Michael Patz; threatened to call law enforcement, and barred them from Sureway
Supermarket, the only grocery store on Grand Isle. Plaintiffs also claim that Defendant Sureway
Supermarket violated LUTPA when they led her to believe that she could keep her job if she
provided a doctor’s note.

        LUTPA provides that “unfair methods of competition and unfair or deceptive acts or
practices in the conduct of any trade or commerce are unlawful.” To succeed on their LUTPA
claim, Plaintiffs Vivian and Michael Patz are required to prove by a preponderance of the evidence
that:

   3. Defendants Sureway Supermarket and SHH Properties’ acts or omissions in the course of
      trade or commerce were unfair or deceptive to Plaintiff; and

   4. Plaintiffs Vivian Patz and Michael Patz suffered an ascertainable loss because of
      Defendants Sureway Supermarket and SHH Properties’ conduct.

       A trade practice is unfair only if it offends public policy and is immoral, unethical,
oppressive, or unscrupulous. What constitutes an unfair trade practice is determined on a case-by-
case basis. Acts which generally constitute unfair trade practices involve fraud, deception,
misrepresentation, breach of fiduciary duty, or other unethical conduct.

         The motivation of Defendants Sureway Supermarket and SHH Properties is a critical
factor. Intent does not have to be proved with direct or circumstantial evidence.

Authority: R. Doc. 150 at 13-14. See also Tubos de Acero de Mexico, S.A. v. Am. Int'l Inv. Corp.,
292 F.3d 471 (5th Cir. 2002); Moore v. Goodyear Tire and Rubber Company, 364 So.2d 630, 634
(1978) (not requiring intent to harm competition for direct illegal conduct against a consumer);
IberiaBank v. Broussard, 907 F.3d 826 (5th Cir. 2018); Balthazar v. Hensley R. Lee Contracting,
214 So. 3d 1032, 1044 (La. App. 4 Cir. 2017) (acts which generally constitute unfair trade practices


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involve fraud, deception, misrepresentation, breach of fiduciary duty, or other unethical conduct;
defendant’s motivation is critical; intent may be proven through circumstantial evidence because
of inherent difficulties in proving intent).




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 19

  DAMAGES (TITLE VII/LOUISIANA PREGNANCY DISCRIMINATION ACT/ADA)

        If you found that Defendant Sureway Supermarket violated Title VII, the Louisiana
Pregnancy Discrimination Act, and/or the Americans with Disabilities Act, then you must
determine whether it has caused Vivian Patz damages and, if so, you must determine the amount
of those damages. You should not conclude from the fact that I am instructing you on damages
that I have any opinion as to whether Vivian Patz has proved liability.

       Plaintiff Vivian Patz must prove her damages by a preponderance of the evidence. Your
award must be based on evidence and not on speculation or guesswork. On the other hand, Plaintiff
Vivian Patz need not prove the amount of her losses with mathematical precision, but only with as
much definitiveness and accuracy as the circumstances permit.

        You should consider the following elements of actual damages, and no others: (1) the
amount of back pay and benefits Plaintiff Vivian Patz would have earned in her employment with
Sureway Supermarket if she had not been terminated from April 15, 2016 to the date of your
verdict, minus the amount of earnings and benefits that Plaintiff Vivian Patz received from
employment during that time; and (2) the amount of other damages sustained by Plaintiff Vivian
Patz, such as pain, suffering, inconvenience, mental anguish, loss of enjoyment of life, and other
noneconomic losses.

        Back pay includes wages Plaintiff Vivian Patz would have earned had she remained an
employee of Sureway Supermarket. You must subtract the amounts of earnings and benefits
Sureway Supermarket proves by a preponderance of the evidence. Plaintiff Vivian Patz received
during the period in question.

       Defendant claims that Plaintiff Vivian Patz failed to mitigate her damages. Plaintiff Vivian
Patz has a duty under the law to mitigate her damages, that is, to exercise reasonable diligence
under the circumstances to minimize her damages.

        To succeed on this defense, Defendant Sureway must prove, by a preponderance of the
evidence: (a) that there was substantially equivalent employment available; (b) Plaintiff Vivian
Patz failed to use reasonable diligence in seeking those positions; and (c) the amount by which
Plaintiff Vivian Patz’s damages were increased by her failure to take such reasonable actions.
However, if Defendant proves that Plaintiff has not made reasonable efforts to obtain work,
Defendant does not have to establish the availability of substantially equivalent employment.

        “Substantially equivalent employment” in this context means a job that has virtually
identical promotional opportunities, compensation, job responsibilities, working conditions, and
status as the job she lost. Plaintiff does not have to accept a job that is dissimilar to the one she
lost, one that would be a demotion, or one that would be demeaning. The reasonableness of
Plaintiff Vivian Patz’s diligence should be evaluated in light of her individual characteristics and
the job market.


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        In addition to actual damages, you may consider whether to award punitive damages.
Punitive damages are damages designed to punish a defendant and to deter similar conduct in the
future.

       You may award punitive damages if Plaintiff Vivian Patz proves by a preponderance of
the evidence her claims under Title VII or the ADA (but not the Louisiana Pregnancy
Discrimination Act) that:

       (1) the individual who engaged in the discriminatory act or practice was acting in a
           managerial capacity;

       (2) she engaged in the discriminatory act or practice while acting in the scope of her
           employment; and

       (3) she acted with malice or reckless indifference to Plaintiff Vivian Patz’s federally
           protected right to be free from discrimination.

         If Plaintiff Vivian Patz has proved these facts, then you may award punitive damages,
unless Sureway Supermarket proves by a preponderance of the evidence that the act was contrary
to its good-faith efforts to prevent discrimination in the workplace.

        An action is in “reckless indifference” to Plaintiff Vivian Patz’s federally protected rights
if it was taken in the face of a perceived risk that the conduct would violate federal law. Plaintiff
Vivian Patz is not required to show egregious or outrageous discrimination to recover punitive
damages. Proof that Sureway Supermarket engaged in intentional discrimination, however, is not
enough in itself to justify an award of punitive damages.

        In determining whether Sureway Supermarket made good-faith efforts to prevent
discrimination in the workplace, you may consider whether it adopted anti- discrimination policies,
whether it educated its employees on the federal antidiscrimination laws, how it responded to
Plaintiff Vivian Patz’s complaint of discrimination, and how it responded to other complaints of
discrimination.

        If you find that Sureway Supermarket acted with malice or reckless indifference to Plaintiff
Vivian Patz’s rights and did not make a good-faith effort to comply with the law, then in addition
to any other damages you find Plaintiff Vivian Patz is entitled to receive, you may, but are not
required to, award Plaintiff Vivian Patz an additional amount as punitive damages for the purposes
of punishing Sureway Supermarket for engaging in such wrongful conduct and deterring Sureway
Supermarket and others from engaging in such conduct in the future. You should presume that
Plaintiff Vivis Patz has been made whole for her injuries by any actual damages you have awarded.

       If you decide to award punitive damages, you should consider the following in deciding
the amount:



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       1.      How reprehensible Sureway Supermarket’s conduct was. You may consider
               whether the harm Plaintiff Vivian Patz suffered was physical or economic or both;
               whether there was violence, intentional malice, or reckless disregard for human
               health or safety; whether Sureway Supermarket’s conduct that harmed Plaintiff
               Vivian Patz also posed a risk of harm to others; whether there was any repetition
               of the wrongful conduct or there was past conduct of the same sort that harmed
               Plaintiff Vivian Patz.

       2.      How much harm Sureway Supermarket’s wrongful conduct caused Plaintiff Vivian
               Patz and could cause her in the future. You may not consider harm to others in
               deciding the amount of punitive damages to award.

       3.      What amount of punitive damages, in addition to the other damages already
               awarded, is needed, considering Sureway Supermarket’s financial condition, to
               punish Sureway Supermarket for its conduct toward Plaintiff Vivian Patz and to
               deter Sureway Supermarket and others from similar wrongful conduct in the future.

       The amount of any punitive damages award should bear a reasonable relationship to the
harm caused Plaintiff Vivian Patz.

Authority: Fifth Circuit Pattern Jury Instruction 2014 11.14; Sellers v. Delgado Coll., 902 F.2d
1189, 1193 (5th Cir. 1990); West v. Nabors Drilling USA, Inc., 330 F.3d 379, 393 (5th Cir. 2003).

  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #19

       Plaintiffs propose this instruction because Defendants’ proposed instruction (infra)
contains language that is contrary to the law and misleading. Specifically:

Opposed language:

       “You must subtract the amounts of earnings and benefits Sureway Supermarket proves by
       a preponderance of the evidence that Plaintiff Vivian Patz received or would have received
       in exercising reasonable diligence in seeking, obtaining, and maintaining substantially
       equivalent employment after the date of her termination, April 15, 2016.

        The clause “or would have received in exercising reasonable diligence in seeking,
obtaining, and maintaining substantially equivalent employment after the date of her termination,
April 15, 2016” is not included in the Fifth Circuit Jury Instruction pattern 11.14. The definition
for back pay as written by the Fifth Circuit ends at the employer in question and does not include
speculative earnings. Plaintiffs finds that this is more appropriate to include when the jury is
instructed on determining mitigation of damages, and to include it before that instruction is
preemptive and duplicative.

DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 19



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  DAMAGES (TITLE VII/LOUISIANA PREGNANCY DISCRIMINATION ACT/ADA)

        If you found that Defendant Sureway Supermarket violated Title VII, the Louisiana
Pregnancy Discrimination Act, and/or the Americans with Disabilities Act, then you must
determine whether it has caused Vivian Patz damages and, if so, you must determine the amount
of those damages. You should not conclude from the fact that I am instructing you on damages
that I have any opinion as to whether Vivian Patz has proved liability.

       Plaintiff Vivian Patz must prove her damages by a preponderance of the evidence. Your
award must be based on evidence and not on speculation or guesswork. On the other hand, Plaintiff
Vivian Patz need not prove the amount of her losses with mathematical precision, but only with as
much definitiveness and accuracy as the circumstances permit.

        You should consider the following elements of actual damages, and no others: (1) the
amount of back pay and benefits Plaintiff Vivian Patz would have earned in her employment with
Sureway Supermarket if she had not been terminated from April 15, 2016 to the date of your
verdict, minus the amount of earnings and benefits that Plaintiff Vivian Patz received from
employment during that time; and (2) the amount of other damages sustained by Plaintiff Vivian
Patz, such as pain, suffering, inconvenience, mental anguish, loss of enjoyment of life, and other
noneconomic losses.

       Back pay includes wages Plaintiff Vivian Patz would have earned had she remained an
employee of Sureway Supermarket. You must subtract the amounts of earnings and benefits
Sureway Supermarket proves by a preponderance of the evidence that Plaintiff Vivian Patz
received or would have received in exercising reasonable diligence in seeking, obtaining, and
maintaining substantially equivalent employment after the date of her termination, April 15, 2016.

       Defendant claims that Plaintiff Vivian Patz failed to mitigate her damages. Plaintiff Vivian
Patz has a duty under the law to mitigate her damages, that is, to exercise reasonable diligence
under the circumstances to minimize her damages.

        To succeed on this defense, Defendant Sureway must prove, by a preponderance of the
evidence: (a) that there was substantially equivalent employment available; (b) Plaintiff Vivian
Patz failed to use reasonable diligence in seeking those positions; and (c) the amount by which
Plaintiff Vivian Patz’s damages were increased by her failure to take such reasonable actions.
However, if Defendant proves that Plaintiff has not made reasonable efforts to obtain work,
Defendant does not have to establish the availability of substantially equivalent employment.

        “Substantially equivalent employment” in this context means a job that has virtually
identical promotional opportunities, compensation, job responsibilities, working conditions, and
status as the job she lost. Plaintiff does not have to accept a job that is dissimilar to the one she
lost, one that would be a demotion, or one that would be demeaning. The reasonableness of
Plaintiff Vivian Patz’s diligence should be evaluated in light of her individual characteristics and
the job market.



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        In addition to actual damages, you may consider whether to award punitive damages.
Punitive damages are damages designed to punish a defendant and to deter similar conduct in the
future.

       You may award punitive damages if Plaintiff Vivian Patz proves by a preponderance of
the evidence her claims under Title VII or the ADA (but not the Louisiana Pregnancy
Discrimination Act) that:

       (4) the individual who engaged in the discriminatory act or practice was acting in a
           managerial capacity;

       (5) she engaged in the discriminatory act or practice while acting in the scope of her
           employment; and

       (6) she acted with malice or reckless indifference to Plaintiff Vivian Patz’s federally
           protected right to be free from discrimination.

         If Plaintiff Vivian Patz has proved these facts, then you may award punitive damages,
unless Sureway Supermarket proves by a preponderance of the evidence that the act was contrary
to its good-faith efforts to prevent discrimination in the workplace.

        An action is in “reckless indifference” to Plaintiff Vivian Patz’s federally protected rights
if it was taken in the face of a perceived risk that the conduct would violate federal law. Plaintiff
Vivian Patz is not required to show egregious or outrageous discrimination to recover punitive
damages. Proof that Sureway Supermarket engaged in intentional discrimination, however, is not
enough in itself to justify an award of punitive damages.

        In determining whether Sureway Supermarket made good-faith efforts to prevent
discrimination in the workplace, you may consider whether it adopted anti- discrimination policies,
whether it educated its employees on the federal antidiscrimination laws, how it responded to
Plaintiff Vivian Patz’s complaint of discrimination, and how it responded to other complaints of
discrimination.

        If you find that Sureway Supermarket acted with malice or reckless indifference to Plaintiff
Vivian Patz’s rights and did not make a good-faith effort to comply with the law, then in addition
to any other damages you find Plaintiff Vivian Patz is entitled to receive, you may, but are not
required to, award Plaintiff Vivian Patz an additional amount as punitive damages for the purposes
of punishing Sureway Supermarket for engaging in such wrongful conduct and deterring Sureway
Supermarket and others from engaging in such conduct in the future. You should presume that
Plaintiff Vivis Patz has been made whole for her injuries by any actual damages you have awarded.

       If you decide to award punitive damages, you should consider the following in deciding
the amount:

       4.      How reprehensible Sureway Supermarket’s conduct was. You may consider


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               whether the harm Plaintiff Vivian Patz suffered was physical or economic or both;
               whether there was violence, intentional malice, or reckless disregard for human
               health or safety; whether Sureway Supermarket’s conduct that harmed Plaintiff
               Vivian Patz also posed a risk of harm to others; whether there was any repetition
               of the wrongful conduct or there was past conduct of the same sort that harmed
               Plaintiff Vivian Patz.

       5.      How much harm Sureway Supermarket’s wrongful conduct caused Plaintiff Vivian
               Patz and could cause her in the future. You may not consider harm to others in
               deciding the amount of punitive damages to award.

       6.      What amount of punitive damages, in addition to the other damages already
               awarded, is needed, considering Sureway Supermarket’s financial condition, to
               punish Sureway Supermarket for its conduct toward Plaintiff Vivian Patz and to
               deter Sureway Supermarket and others from similar wrongful conduct in the future.

       The amount of any punitive damages award should bear a reasonable relationship to the
harm caused Plaintiff Vivian Patz.

Authority: Fifth Circuit Pattern Jury Instruction 2014 11.14; Sellers v. Delgado Coll., 902 F.2d
1189, 1193 (5th Cir. 1990); West v. Nabors Drilling USA, Inc., 330 F.3d 379, 393 (5th Cir.
2003).




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 20

           DAMAGES (LOUISIANA UNFAIR TRADE PRACTICES (LUTPA))

        If you find that Sureway Supermarket and SHH Properties engaged in an unfair trade
practice, Plaintiffs are entitled to recover damages. Plaintiffs Vivian and Michael Patz have the
burden of proving the amount of the damages by a preponderance of the evidence. Damages can
include Plaintiffs’ actual loss caused by the defendants’ unfair practices. Damages can also include
general damages such as damages for mental anguish and humiliation.

       Damages need not be calculated to a mathematical certainty nor must there be specific
proof of the actual amount of the loss, however, there must be a reasonable basis for the
computation.

Authority: La. Rev. Stat. § 51:1409(A); Fifth Circuit Pattern Jury Instruction 2014 15.2; Slayton
v. Davis, 04-1652 (La. App. 3d Cir. 5/11/05), 901 So.2d 1246 (general damages available under
LUTPA); Laurents v. Louisiana Mobile Homes, Inc., 96-976 (La. App. 3d Cir. 2/5/97), 689 So.2d
536 (same); Vercher v. Ford Motor Co., 527 So.2d 995 (La. App. 3d Cir. 1988) (same).


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #20

        Plaintiffs’ counsel provided their proposed instructions on Monday, January 14th and met
with Defendants’ counsel on Wednesday, January 16th, but did not receive comments on this
jury instruction or an alternate instruction in time for consideration here.




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 21

                              DAMAGES (FAIR HOUSING ACT)

        If you find that Defendants Shelly Jambon, Sureway Supermarket, and/or SHH Properties
violated the Fair Housing Act and Plaintiffs suffered damages, Plaintiffs Vivian and Michael Patz
are entitled to actual damages. Actual damages include out-of-pocket losses as well as emotional
distress and humiliation.

       Damages need not be calculated to a mathematical certainty nor must there be specific
proof of the actual amount of the loss, however, there must be a reasonable basis for the
computation.

        The Fair Housing Act allows a jury to award punitive damages against a defendant.
Punitive damages may be awarded for two reasons: one, to punish a defendant for its misconduct;
or two, to deter a defendant or other persons from acting in the same way in the future.

        Punitive damages may be awarded against defendants if the plaintiffs have proven either
that the defendants' misconduct was motivated by an intent to discriminate or that the defendants'
conduct involved reckless disregard or callous indifference to the legal rights of the plaintiff that
are protected by the laws that are involved in this case. Under the Fair Housing Act, it is not
necessary for the plaintiffs to show that the defendant acted with actual malice or evil towards the
plaintiff.

        “Reckless disregard or callous indifference” means that the defendant deliberately
disregarded the plaintiff's rights. For example, a defendant has acted with reckless disregard or
callous indifference when the defendants knew or should have known that the plaintiff was in
danger of being harmed and that the defendant could have taken steps either to ensure that the
plaintiff was not harmed or that the harm to the plaintiff was corrected but that the defendants
failed to take such steps. If for example, you find that a defendant had knowledge of the Fair
Housing Act but took insufficient steps to avert harm to the plaintiff, you may award punitive
damages on this basis to the plaintiff.

Authority: Johnson v. Dept of Treasury, I.R.S., 700 F.2d 971, 983 (5th Cir. 1983); Smith v. Wade,
461 U.S. 30, 51, 103 S.Ct. 1625, 75 L.Ed.2d 632 (1983); Rhodes v. State Through Dep't of Transp.
& Dev., 684 So. 2d 1134, 1147 (La. App. 1 Cir. 12/20/96); Saucier v. State Farm Mut. Auto. Ins.
Co. (W.D. La., 2016).

  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #21

       Plaintiffs propose this instruction because Defendants’ proposed instruction (infra)
contains language that is contrary to the law and misleading. Specifically:

Opposed Language: “Actual damages are compensatory damages which I will describe
separately.”


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       Plaintiffs have not seen a separate instruction on compensatory damages. Plaintiffs have
organized the damages instructions claim-by-claim for the jury’s clarity.

In Support of Plaintiffs’ Proposed Language:

Plaintiffs’ Language:

       “If you find that Defendants Shelly Jambon, Sureway Supermarket, and/or SHH Properties
       violated the Fair Housing Act and Plaintiffs suffered damages, Plaintiffs Vivian and
       Michael Patz are entitled to actual damages.”

         Plaintiffs have responded to Defendants’ modification by adding the phrase “and Plaintiffs
suffered damages.” In this version, the jury will find that Plaintiffs are entitled to damages if
Defendants violated the Fair Housing Act and Plaintiffs suffered damages. Plaintiffs find that this
is a fair assessment of the law.

Plaintiffs’ Language:

       “Damages need not be calculated to a mathematical certainty nor must there be specific
       proof of the actual amount of the loss, however, there must be a reasonable basis for the
       computation.”

        Plaintiffs wish to include this language to ease the jury’s understanding of how actual
damages are calculated. In Rhodes v. State Through Dep't of Transp. & Dev., the Louisiana circuit
court found that “even though past lost wages are susceptible of mathematical calculation, a
plaintiff is only required to provide proof to reasonably establish the claim.” Saucier v. State Farm
Mut. Auto. Ins. Co., No. 14-3157, (W.D. La., 2016) (citing Rhodes v. State Through Dep't of
Transp. & Dev., 684 So. 2d 1134, 1147 (La. App. 1 Cir. 12/20/96)).

DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 21

                              DAMAGES (FAIR HOUSING ACT)

        If you find that Defendants Shelly Jambon, Sureway Supermarket, and/or SHH Properties
violated the Fair Housing Act, then you may award Plaintiffs Vivian and Michael Patz actual
damages. Actual damages include out-of-pocket losses as well as emotional distress and
humiliation. Actual damages are compensatory damages which I will describe separately.

        The Fair Housing Act allows a jury to award punitive damages against a defendant.
Punitive damages may be awarded for two reasons: one, to punish a defendant for its misconduct;
or two, to deter a defendant or other persons from acting in the same way in the future.

        Punitive damages may be awarded against defendants if the plaintiffs have proven either
that the defendants' misconduct was motivated by an intent to discriminate or that the defendants'


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conduct involved reckless disregard or callous indifference to the legal rights of the plaintiff that
are protected by the laws that are involved in this case. Under the Fair Housing Act, it is not
necessary for the plaintiffs to show that the defendant acted with actual malice or evil towards the
plaintiff.

        “Reckless disregard or callous indifference” means that the defendant deliberately
disregarded the plaintiff's rights. For example, a defendant has acted with reckless disregard or
callous indifference when the defendants knew or should have known that the plaintiff was in
danger of being harmed and that the defendant could have taken steps either to ensure that the
plaintiff was not harmed or that the harm to the plaintiff was corrected but that the defendants
failed to take such steps. If for example, you find that a defendant had knowledge of the Fair
Housing Act but took insufficient steps to avert harm to the plaintiff, you may award punitive
damages on this basis to the plaintiff.

Authority: Johnson v. Dept of Treasury, I.R.S., 700 F.2d 971, 983 (5th Cir. 1983).




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 22

            PUNITIVE DAMAGES (RATIFICATION) (FAIR HOUSING ACT)

       In deciding whether to award punitive damages against Defendants Sureway Supermarket,
SHH Properties, and Shelly Jambon, you must consider the conduct of the Defendants’ agents and
employees. A plaintiff may recover punitive damages from a defendant acting solely in his
capacity as property owner if you find that the defendant endorsed the discrimination of the
employees to whom it had delegated rental responsibilities. Punitive damages may be awarded if
you find that the defendant ratified the acts of such agents or employees.

        You may award punitive damages against a property owner based on the actions of an
employee if you find that the defendant either deliberately or through knowledgeable inaction
authorized or fostered, or encouraged the acts complained of by plaintiff, or condoned or ratified
those acts. Punitive damages may be awarded against a property owner on the basis of the acts of
agents of an employee even or employee even though an owner, such as in this case, has limited
or no direct dealings with the plaintiffs.

        “Ratification” means approval of an act after it is done. Whether or not an owner of rental
property ratified the conduct of a person to whom it had delegated rental responsibilities may be
inferred from the circumstances of the case and the conduct of the parties. Ratification need not be
formal but may be inferred from the conduct of the parties, including what actions, if any, they
took after the action came to their attention.

        For example, if you find that Sureway Supermarket, SHH Properties, and/or Shelly Jambon
did not adequately discipline David Felarise or attempt to inform Plaintiffs that they did not need
to vacate the property immediately, you may find that they acted callously or indifferently or in
disregard of Plaintiffs’ rights and thereby ratified the acts of David Felarise.

Authority: Szwast v. Carlton Apartments, 102 F.Supp.2d 777 (E.D. Mich. 2000).


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #22

        Plaintiffs’ counsel provided their proposed instructions on Monday, January 14th and met
with Defendants’ counsel on Wednesday, January 16th, but did not receive comments on this
jury instruction or an alternate instruction in time for consideration here.




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 23

                   DAMAGES (EVICTION - BREACH OF CONTRACT)

        If you decide for Vivian Patz and Michael Patz on their claim for breach of the lease
agreement, you must determine the amount of money which will reasonably compensate them for
all loss naturally arising from the breach of the lease. In calculating Plaintiffs’ damages, you
should determine that sum of money that will put Plaintiffs in as good a position as they would
have been in if had Sureway Supermarket not breached the lease agreement.


Authority: Pelleteri v. Caspian Group, Inc., (La. App. 4 Cir. 7/2/04), 851 So. 2d 1230, 1238
(eviction case stating with respect to damages for breach of contract that the measure of damages
for an obligor’s failure to perform a contract is the “loss sustained by the oblige and the profit of
which he has been deprived”) (citing La. Civ. Code art. 1995); In re Bankston, 749 F.3d 399, 403
(5th Cir. 2014) (“Louisiana has embraced the contract damages principle of “expectation”
damages[;]” “[a]s stated by the Louisiana Supreme Court, the calculation of damages should place
the non-breaching party “in the same position he would have been in” had the contract been
fulfilled.”) (citations omitted).


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #23

        Plaintiffs’ counsel provided their proposed instructions on Monday, January 14th and met
with Defendants’ counsel on Wednesday, January 16th, but did not receive comments on this
jury instruction or an alternate instruction in time for consideration here. Plaintiffs reserve the
right to file objections or comments in regard to Defendants’ proposed instruction provided
below.


DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 23

 DAMAGES: WRONGFUL EVICTION (BREACH OF CONTRACT AND TRESSPAS)

       If you find that the Defendants, Sureway Supermarket and/or SHH are liable to Vivian and
Michael Patz for wrongful eviction, the plaintiffs are entitled to damages based in contract and
tort. You may award special and general damages.




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 24

                     DAMAGES (ILLEGAL EVICTION – TRESPASS)

       If you find that Defendant Sureway Supermarket is liable for trespass, Plaintiffs Vivian
and Michael Patz are entitled to damages based on the result or the consequences of an injury
flowing from the act of trespass. Plaintiffs’ damages must be proved by a preponderance of the
evidence, and this burden of proof may be met by either direct or circumstantial evidence. One
who is wronged by a trespass may recover general damages suffered, including mental and
physical pain, anguish, distress, and inconvenience.


Authority: Lacombe v. Carter, 975 So. 2d 687, 689 (La. App. 3d Cir. 2008) (quoting Griffin v.
Abshire, 04–37, p. 11 (La. App. 3 Cir. 6/2/04), 878 So.2d 750, 757–58, writ denied, 04–1663
(La.10/8/04), 883 So.2d 1018).


 PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #24

        Plaintiffs’ counsel provided their proposed instructions on Monday, January 14th and met
with Defendants’ counsel on Wednesday, January 16th, but did not receive comments on this
jury instruction or an alternate instruction in time for consideration here.




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PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 25

                               DAMAGES: ILLEGAL EVICTION

         If you find that defendants Sureway Supermarket and/or S.H.H. Properties are liable for
illegal eviction, the plaintiffs are entitled to damages based in contract and tort. First, you should
determine that sum of money that will put Plaintiffs in as good a position as they would have been
in if Sureway Supermarket had not illegally evicted them. You may also award general damages.
General damages involve physical and mental pain and suffering, inconvenience, loss of
intellectual gratification or physical enjoyment, and other factors that affect plaintiffs’ lives. There
is no mechanical rule for determining general damages; the facts and circumstances of each case
control.


Authority: Duhon v. Briley, 117 So. 3d 253, 259–60 (La. App. 4 Cir. 2013); Head v. Pendleton
Memorial Methodist Hosp., 669 So.2d 504 (La.App. 4 Cir. 1/31/96); Masters v. City of New
Orleans, 662 So.2d 125 (La.App. 4 Cir. 9/28/95); Estate of Thomas v. State, D.O.T.D., 604 So.2d
617 (La. App. 2d Cir. 1992), writ denied, 608 So.2d 167 (La. 1992).


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #25

        Plaintiffs’ counsel provided their proposed instructions on Monday, January 14th and met
with Defendants’ counsel on Wednesday, January 16th, but did not receive comments on this
jury instruction or an alternate instruction in time for consideration here.




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DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 26

                                        SIMILAR ACTS

      Evidence that an act was done at one time or on one occasion is not any evidence or proof
whatsoever that the act was done in this case.

       Then how may you consider evidence of similar acts?

        You may consider evidence of similar acts for the limited purpose of showing Plaintiff
Vivian Patz’s knowledge that failure to communicate with Sureway would result in termination
of her employment, which is at issue in this case.

       You may consider evidence of similar acts for the limited purpose of showing Plaintiff
Michael Patz’s knowledge that being late to work would result in termination of his employment,
which is at issue in this case.

       You may consider evidence of similar acts for the limited purpose of showing Plaintiffs
Vivian and Michael Patz’s knowledge that they knew that their housing was dependent on being
employed at Sureway, which is at issue in this case.

Authority: Fifth Circuit Pattern Jury Instruction 2014 2.10.


PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 26

                                        SIMILAR ACTS

      Evidence that an act was done at one time or on one occasion is not any evidence or proof
whatsoever that the act was done in this case.

       Then how may you consider evidence of similar acts?

        You may consider evidence of similar acts for the limited purpose of showing Plaintiff
Vivian Patz’s knowledge that failure to communicate with Sureway would result in termination
of her employment, which is at issue in this case.

       You may consider evidence of similar acts for the limited purpose of showing Plaintiffs
Vivian and Michael Patz’s knowledge that they knew that their housing was dependent on being
employed at Sureway, which is at issue in this case.

      You may consider evidence of similar acts for the limited purpose of showing Defendant
Sureway’s intent and motive when firing Plaintiff Vivian Patz, which is at issue in this case.




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       You may consider evidence of similar acts for the limited purpose of showing Defendant
Sureway’s absence of mistake or accident when evicting Plaintiffs Vivian and Michael Patz
which is at issue in this case.

Authority: Fifth Circuit Pattern Jury Instruction 2014 2.10.


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #26

Opposed Language:

       “You may consider evidence of similar acts for the limited purpose of showing Plaintiff
       Michael Patz’s knowledge that being late to work would result in termination of his
       employment, which is at issue in this case.”

        The reason for Michael Patz’s termination is not at issue in the case. As such, this
instruction is not relevant under the Federal Rules of Evidence 401 and 402.

Opposed Language:
     “You may consider evidence of similar acts for the limited purpose of showing Plaintiff
     Vivian Patz’s knowledge that failure to communicate with Sureway would result in
     termination of her employment, which is at issue in this case.

       You may consider evidence of similar acts for the limited purpose of showing Plaintiffs
       Vivian and Michael Patz’s knowledge that they knew that their housing was dependent
       on being employed at Sureway, which is at issue in this case.”

       Plaintiffs find that Defendants’ language, added to the pattern instruction, impermissibly
conforms the instruction to the theme and theory of their case. This Court may decide whether
such language is relevant as opposed to above.

Plaintiffs’ Language:

       “You may consider evidence of similar acts for the limited purpose of showing Defendant
       Sureway’s intent and motive when firing Plaintiff Vivian Patz, which is at issue in this
       case.

       You may consider evidence of similar acts for the limited purpose of showing Defendant
       Sureway’s absence of mistake or accident when evicting Plaintiffs Vivian and Michael
       Patz which is at issue in this case.”

       Plaintiffs wish to include language on similar acts that go to the issues and theories of our
case. Plaintiffs find that much of Defendants’ language that adds to the pattern instruction
impermissibly conforms the instruction to the theme and theory of their case. This Court may
decide whether such language is relevant as opposed to above. Should the Court not strike such


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language, Plaintiffs would move to include the above instructions relative to their own theories of
the case.




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DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 27

                IMPEACHMENT BY WITNESS’S FELONY CONVICTION

       In weighing the credibility of a witness, you may consider the fact that he or she has
previously been convicted of a felony. Such a conviction does not necessarily destroy the
witness’s credibility, but it is one of the circumstances you may take into account in determining
the weight to give to his or her testimony.

Authority: Fifth Circuit Pattern Jury Instruction 2014 2.12.


PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 27

        Plaintiffs propose to strike Defendants’ Proposed Joint Jury Instruction No. 27 in its
entirety.


PLAINTIFFS’ REASONS IN SUPPORT OF STRIKING PROPOSED INSTRUCTION 27

        Defendants seek to include this jury instruction in conjunction with the introduction of
exhibits that reveal Plaintiff Michael Patz’s past criminal history. Plaintiffs oppose this instruction
on the same basis of our motion in limine opposing Defendants’ listed exhibits that include
deposition testimony about Plaintiff Michael Patz’s past criminal history. This evidence – and the
corresponding jury instruction – should be excluded because it is not relevant under the Federal
Rules of Evidence 401 and 402. Further, the evidence has no probative value on any disputed facts
or legal issues of the case such that the value outweighs is prejudicial impact required for admission
under Federal Rule of Evidence 403. Last, the criminal history is not directly related to the
witness’s credibility in this case because the crimes do not involve a “dishonest act or false
statement” necessary for admission under Federal Rule of Evidence 609.




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DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 28

                                   EMPLOYMENT AT WILL

        Louisiana recognizes the doctrine of "employment at will." Absent a specific contract or
agreement establishing a fixed term of employment, an employer may generally discharge an
employee at any time for any reason without incurring liability for the discharge, provided that
the discharge does not violate any statutory or constitutional provision.

Huang v. Louisiana State Bd. Of Trustees for State Colleges and Universities, 781 So.2d 1 (La.
App. 1 Cir. 2000).


PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 28

        Louisiana recognizes the doctrine of "employment at will." Absent a specific contract or
agreement establishing a fixed term of employment, an employer may generally discharge an
employee at any time for any reason without incurring liability for the discharge, provided that
the discharge does not violate any statutory or constitutional provision such as Title VII of Civil
Rights Act, Americans with Disabilities Act, and the Louisiana Pregnancy Discrimination Act. If
Defendants give a non-discriminatory reason for termination, you may still find that it violates a
statutory or constitutional provision if it is a pretext for discrimination or if a discriminatory
reason was a motivating factor in the employer’s action.

Authority: Huang v. Louisiana State Bd. Of Trustees for State Colleges and Universities, 781
So.2d 1 (La. App. 1 Cir. 2000) (discussing pretextual reasons for termination despite the doctrine
of “employment at will”).


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #28

Plaintiffs’ Language:

       “…such as Title VII of Civil Rights Act, Americans with Disabilities Act, and the
       Louisiana Pregnancy Discrimination Act. If Defendants give a non-discriminatory reason
       for termination, you may still find that it violates a statutory or constitutional provision if
       it is a pretext for discrimination or if a discriminatory reason was a motivating factor in
       the employer’s action.”

        Plaintiffs seek to include this language as Defendants proposed language would lead the
jury to misinterpret Louisiana’s at will employment law. It is crucial to alert the jury that ‘at will’
employment does not mean that statutory and constitutional rights can be violated, and the
inclusion of the specific laws will demonstrate that such violations are what is at issue in this case.
Further, Plaintiffs seek to include additional language – found from the same case cited by
Defendants – for the proposition that even a non-discriminatory reason in an “at will” job must


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withstand scrutiny to determine if the reason is pretexual or whether discrimination is still a
motivating factor.




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DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 28

      A pregnant employee is only entitled to be treated as well as other non-pregnant
employees, not better.

Authority: Mascorro v. Am. Funds Serv. Co., Inc., 2006 WL 3782861, at *4-5 (W.D. Tex. 2006).


PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 28

        Plaintiffs propose to strike Defendants’ Proposed Joint Jury Instruction No. 28 in its
entirety or should this Court see fit, include it in the appropriate claim-specific instruction.


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #28

       Plaintiff would propose that this Court include it in the appropriate claim instruction, but
would prefer to rely on the Fifth Circuit Jury Instruction patterns as opposed to this type of
stand-alone instruction based on one case.




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DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 29

        An essential element of any job is the ability to appear for work. An employee who does
not come to work cannot perform any of her job functions, essential or otherwise. The fact that an
employee's absence from work is caused by her pregnancy does not dispense with the general
requirement that employees must show up for work. If the employee is not able to come to work,
she is not qualified for her position.

Authority: In re Inspire Insurance Solutions, Inc., 2008 WL 2065981 (Bkrtcy. N.D. Tex. 2008).


PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 29

        Plaintiffs propose to strike Defendants’ Proposed Joint Jury Instruction No. 29 in its
entirety.


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #29

        No party has alleged she was unable to show up to work or that her pregnancy prevented
her from coming to work. See R. Doc. 133 at 7-8 (whether Vivian was able to return to work not
among contested facts). Defendants have admitted that Vivian Patz did not request off from work,
nor that any medical provider determined Vivian Patz was unable to appear for work.

        The context of this proposed instruction is likely Taylor v. Jotun Paints, Inc. which cites
to In re Inspire Insurance Solutions, Inc. for the proposition that a high-risk pregnancy preventing
an employee from working is considered an “unqualified” employee. In this case, plaintiff had a
high-risk pregnancy and her physician classified her as incapable of performing “minimal
sedentary activity (i.e. essentially that no modifications to her job would allow her to perform it).”
Taylor v. Jotun Paints, Inc., No. 09-3801 at *2. This lasted from May 11, 2007 to December 22,
2007. This plaintiff also was given sixteen weeks of medical and maternity leave by defendant-
employer. Id. at *3. Unlike this plaintiff in Taylor v. Jotsun Paints, Inc., Vivian Patz did not request
leave nor was she diagnosed by a physician as incapable of performing her job. The doctor’s note
that Vivian Patz obtained on 4/15/2016 stated that she could return to work on 4/18/2016 – only
three days off work with a specific return date. As such, Plaintiffs find that a jury instruction based
off this case would lead the jury to draw erroneous conclusions about the Plaintiffs’ qualification
for the job because the two cases are not analogous.




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DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 30

       You should find that the plaintiff was not qualified for her position if she was not
medically cleared to return to work at the time her leave expired, and therefore the plaintiff has
not proven her prima facie case.

Authority: Dimacali v. Cardiology Associates of Corpus Christi, 2010 WL 1644692 (S.D. Tex.
2010).


PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 30

        Plaintiffs propose to strike Defendants’ Proposed Joint Jury Instruction No. 30 in its
entirety.

  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #30

       Defendants’ proposed jury instruction is based on an entirely non-analogous set of facts.
In Dimacali, the plaintiff requested and obtained FMLA leave due to a medically sensitive
pregnancy. In advance, she was told she had up to twelve weeks off. By the end of the twelve
weeks, she was not medically cleared and said she did not know when she would return to work.
So she was terminated.

       The idea reflected in the proposed jury instruction (an employee only being qualified if
medically cleared) appears in cases like Dimacali where the employee is given the statutory
amount of FMLA leave (several months), and then isn't medically cleared to return to work at the
end of those months of leave. E.g., Blackett v. Whole Foods Mkt. Grp., Inc., 14-cv-01896 (D.
Conn., March 27, 2017). And contrary to Defendants’ suggestion in this in this instruction, even
in such cases lack of medical clearance is not always enough to resolve the discrimination claim.
See DiNardo v. Medco Health Solutions, Inc., 14-5716 (D. N.J., May 24, 2016) (denying
defendant's motion for summary judgment even when plaintiff was not medically cleared at the
end of months of leave.)

       Plaintiffs' counsel cannot find any cases supporting the jury instruction like the one at issue
here: where an employer sends someone home (rather than the person requesting leave) for an
undefined length of time, waits a few days, and then terminates them when they haven't yet
obtained medical clearance.




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DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 31

                                    SIMILARLY SITUATED

        To establish disparate treatment, a plaintiff must show that the employer gave preferential
treatment to another employee under nearly identical circumstances. The employee being
compared must have held the same job and responsibilities, shared the same supervisor [*7] or
had their employment status determined by the same person, and have essentially comparable
violation histories. Additionally, the plaintiff's conduct which drew the adverse employment action
must be nearly identical to that of the proffered comparator who drew an allegedly dissimilar
employment decision. If the other employee has a different supervisor, a different pay rate, a
different position, has different job duties and has a different job title, then the employees are not
"nearly identical" to establish disparate treatment.

Authority: Okoye v. University of Texas Houston Health Science Center, 245 F.3d 507 (5th Cir.
2001); Brooks v. Lubbock County Hosp. Dist., 373 Fed. Appx. 434 (5th Cir. 2010); Strong v.
University Healthcare System, LLC, 482 F.3d 802 (5th Cir. 2007); Gilbert v. Brookshire Grocery
Co., 354 Fed. Appx. 953 (5th Cir. 2009); Evans v. Texas Dept. Of Transp., 547 F.Supp.2d 626
(E.D. Tex. 2007).


PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 31

Plaintiffs propose to incorporate this instruction in the appropriate case-specific jury instruction:

        To establish pregnancy discrimination on the basis of disparate treatment, a plaintiff must
show that “she belongs to the protected class, that she sought accommodation, that the employer
did not accommodate her, and that the employer did accommodate others ‘similar in their ability
or inability to work.’” In other words, a plaintiff must show that the employer treated pregnant
employees differently than non-pregnant employees under nearly identical circumstances. “The
employment actions being compared will be deemed to have been taken under nearly identical
circumstances when the employees being compared held the same job or responsibilities, shared
the same supervisor or had their employment status determined by the same person, and have
essentially comparable violation histories.” For these purposes, “nearly identical” should not be
considered synonymous with “identical.”

Authority: Young v. United Parcel Serv., Inc., 135 S. Ct. 1338, 191 L. Ed. 2d 279 (2015); Lee v.
Kansas City Southern Ry. Co., 574 F.3d 253 (5th Cir., 2009); Heggemeier v. Caldwell Cnty., 826
F.3d 861 (5th Cir., 2016); Outley v. Luke & Assocs., Inc., 840 F.3d 212 (5th Cir., 2016)

  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #31

       Defendants' proposal misstates the "nearly identical" standard by including a reference to
"pay rate" and "job duties" which are not determinative of whether the circumstances are nearly



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identical in the 5th Circuit. Further, Plaintiff's proposal includes context regarding the standard a
plaintiff must prove to show that there has been disparate treatment.




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DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 32

        If you find that the plaintiff has proven her prima facie case, you must determine whether
her employer has articulated a legitimate non-discriminatory [*8] reason for terminating the
plaintiff. The employer need only produce evidence which, if credible, establishes a non-
discriminatory reason for its actions.

Authority: St. Mary's Honor Ctr. v. Hicks, 509 U.S. 502 (1993).


PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 32

        Plaintiffs propose to strike Defendants’ Proposed Joint Jury Instruction No. 32 in its
entirety.


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #32

        Plaintiffs seek to strike this stand-alone instruction as duplicative of the case-specific
instructions. This proposed instruction is the McDonnell-Douglas burden shifting standard. It is
already included in our proposed case-specific instructions for Title VII and Louisiana Pregnancy
Discrimination Act.




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DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 33

        In order to succeed in proving pretext, the plaintiff must disprove each non-
discriminatory justification for her dismissal. She must further provide substantial evidence, not
a mere scintilla, of the pretext. The plaintiff must [*9] substantiate her claim of pretext through
evidence demonstrating that discrimination is at the heart of the employer's decision. The
assertion of pretext must be supported by more than mere self-serving, subjective, or speculative
allegations. The plaintiff must provide sufficiently specific, substantive reasons for her claim of
pretext. If the evidence presented by the plaintiff is not so persuasive as to support an inference
that the employer's real reason for terminating the plaintiff was discrimination, then the plaintiff
has failed to meet her burden of proof.

Authority: Price v. Federal Express Corp., 283 F.3d 715 (5th Cir. 2002); Nichols v. Loral
Vaught Systems Corp., 81 F.3d 38 (5th Cir. 1996); Rubinstein v. Administrators of the Tulane
Education Fund, 218 F.3d 392 (5th Cir. 2000).


PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 33

        Plaintiffs propose to strike Defendants’ Proposed Joint Jury Instruction No. 33 in its
entirety.


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #33

        Under the Title VII provisions at issue in this case, discrimination need not be at “the
heart” of defendant’s decision nor the “real reason.” Per 42 U.S.C. 2000e-2(m), plaintiff need
only show that gender or pregnancy was “a motivating factor for any employment practice, even
though other factors also motivated the practice.”




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DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 34

                                   EMOTIONAL DISTRESS

        For plaintiff to recover damages for emotional distress, she must first show a specific
discernible injury to her emotional state, proven with evidence regarding the nature and extent of
the harm. Hurt feelings, anger and frustration are part of life, and are not the types of harm that
will support a mental anguish award under Title VII.

Authority: Hines v. Grand Casino of Louisiana, L.L.C.-Tunica-Biloxi Indians, 358 F.Supp.2d
533 (W.D. La. 2005).


PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 34

                                    ACTUAL DAMAGES:
                                   EMOTIONAL DISTRESS

        You may award compensatory damages for any pain and suffering, mental anguish,
humiliation, loss of self-respect, damage to reputation or career, loss of pleasure in one’s family
or career, or loss of dignity that each plaintiff experienced as a result of Defendants’ actions. In
determining the amount, if any, to be awarded to each plaintiff for emotional distress, you may
take into consideration the effect that Defendants’ treatment of her had on her enjoyment of life
relative to her enjoyment of life had Defendants not discriminated against her.

        To recover compensatory damages for mental and emotional distress, Plaintiff Vivian Patz
and/or Plaintiff Michael Patz must prove that they suffered a specific discernable injury with
credible evidence. Evidence of mental anguish need not be corroborated by doctors, psychologists,
or other witnesses, but Plaintiff Vivian Patz and Plaintiff Michael Patz must support their claims
with competent evidence of the nature, extent, and duration of the harm. Damages for mental or
emotional distress must be based on the evidence at trial. They may not be based on speculation
or sympathy. There is no exact standard for fixing compensation to be awarded for these damages.
Any award you make should be fair in light of the evidence presented at trial.


Authority Fifth Circuit Jury Instruction 2014 10.12.


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #34

        Plaintiffs have included language from the Fifth Circuit Jurty Instruction pattern and
included a descriptive paragraph to alert the jury to the definition of emotion distress damages.
Plaintiff also seeks to combine all emotional distress damages instructions into one instruction.
Plaintiffs reserve the right to supplement these reasons in support of their instruction.



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DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 35

                                    EMOTIONAL DISTRESS

        While the plaintiff's testimony alone may support an emotional distress award, that
testimony must consist of more than just vague and conclusory allegations. Corroboration and
expert testimony, while not always necessary, are preferred before an award of damages should
be made for emotional distress.

Authority: Hines v. Grand Casino of Louisiana, L.L.C.-Tunica-Biloxi Indians, 358 F.Supp.2d
533 (W.D. La. 2005).


PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 35

       Plaintiff proposes striking this instruction in its entirety as duplicative of Plaintiffs’
Proposed Jury Instruction #34.


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #35

        See Plaintiffs’ Proposed Jury Instruction #34.




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DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 36

                                           MITIGATION

       The plaintiff has a duty to mitigate her damages, [*11] including damages relating to
back pay. Interim earnings or amounts earnable with reasonable diligence by the person or
persons discriminated against shall operate to reduce the back pay which might otherwise be
awarded to the plaintiff.

Authority: Figgs v. Quick Fill Corporation, 766 F.2d 901 (5th Cir. 1985).


PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 36

        Plaintiffs propose to strike Defendants’ Proposed Joint Jury Instruction No. 36 in its
entirety.


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #36

        Plaintiffs propose to strike this jury instruction as duplicative of the mitigation
instructions listed in the case specific instructions on damages.




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DEFENDANTS’ PROPOSED JOINT JURY INSTRUCTION NO. 37

                                     PUNITIVE DAMAGES

        However, punitive damages may not be imposed against an employer if the managerial
employee's actions are contrary to the employer's good faith efforts to comply with the
requirements of Title VII. An action was in "reckless indifference" to Plaintiff's federally
protected rights if it was taken in the face of a perceived risk that the conduct would violate
federal law. Plaintiff is not required to show egregious or outrageous discrimination to recover
punitive damages. However, proof that Defendant engaged in intentional discrimination [*14] is
not enough in itself to justify an award of punitive damages.

Authority: Hatley v. Hilton Hotels Corp., 308 F.3d 473 (5th Cir. 2002); Kolstad v. Am. Dental
Ass'n, 527 U.S. 526 (1999).


PLAINTIFFS’ PROPOSED JOINT JURY INSTRUCTION NO. 36

        Plaintiffs propose to strike Defendants’ Proposed Joint Jury Instruction No. 36 in its
entirety.


  PLAINTIFFS’ REASONS IN SUPPORT OF THEIR PROPOSED INSTRUCTION #36

      Plaintiffs propose striking this proposed instruction as it is duplicative of the punitive
damage instructions in the case-specific instructions on damages.




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JOINT JURY INSTRUCTION NO. 38

                                     NOMINAL DAMAGES

        Nominal damages are an inconsequential or trifling sum awarded to a plaintiff when a
technical violation of his or her rights has occurred but the plaintiff has suffered no actual loss or
injury.

        If you find by a preponderance of the evidence that Plaintiff Vivian Patz sustained a
technical violation of her civil rights under Title VII, the Americans with Disabilities Act, or Fair
Housing Act, but that Plaintiff Vivian Patz suffered no actual loss as a result of this violation, then
you may award Plaintiff Vivian Patz nominal damages. Similarly, if you find by a preponderance
of the evidence that Plaintiff Michael Patz sustained a technical violation of his civil rights under
the Fair Housing Act, but that Plaintiff Michael Patz suffered no actual loss as a result of this
violation, then you may award Plaintiff Michael Patz nominal damages.

Authority: Fifth Circuit Pattern Jury Instruction 15.6; David v. Signal International LLC, 2015
WL 5254625 (E.D. La. Sept. 9, 2015).



JOINT JURY INSTRUCTION NO. 39

                       CONSIDER DAMAGES ONLY IF NECESSARY

         If Plaintiffs, Vivian and Michael Patz, have proved their claims against Defendants,
Sureway Supermarket, SHH Properties, and Shelly Jambon by a preponderance of the evidence,
you must determine the damages to which Plaintiffs Vivian or Michael Patz are entitled. You
should not interpret the fact that I am giving instructions about Plaintiffs Vivian and Michael Patz’s
damages as an indication in any way that I believe that Plaintiffs should, or should not, win this
case. It is your task first to decide whether Defendants Sureway Supermarket, SHH Properties, or
Shelly Jambon are liable. I am instructing you on damages only so that you will have guidance in
the event you decide that Defendants Sureway Supermarket, SHH Properties, or Shelly Jambon
are liable and that Plaintiffs are entitled to recover money from Defendants.

Authority: Fifth Circuit Pattern Jury Instruction 2014 15.1




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JOINT JURY INSTRUCTION NO. 40

                             JUDICIAL NOTICE* (AS NEEDED)

        You must accept as proved facts of which the court takes judicial notice. The court has
taken judicial notice that: [state the facts].

Authority: Fifth Circuit Pattern Jury Instruction 2014 2.4.

JOINT JURY INSTRUCTION NO. 41

                      DEMONSTRATIVE EVIDENCE* (AS NEEDED)

       Exhibit [#] is an illustration. It is a party’s [description/picture/model] used to describe
something involved in this trial. If you recollection of the evidence differs from the exhibit, rely
on your recollection.

Authority: Fifth Circuit Pattern Jury Instruction 2014 2.8.

JOINT JURY INSTRUCTION NO. 42

                        CHARTS AND SUMMARIES* (AS NEEDED)

        Certain charts and summaries have been shown to you solely to help explain or summarize
the facts disclosed by the books, records, and other documents that are in evidence. These charts
and summaries are not evidence or proof of any facts. You should determine the facts from the
evidence.

Authority: Fifth Circuit Pattern Jury Instruction 2014 2.7.

                                          Respectfully submitted,

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